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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


                                                 )
EMILY McINTYRE and CHRISTOPHER                   )
McINTYRE as co-administrators of the Estate of   )
John L. McIntyre,                                )
                                                 )
                            Plaintiffs,          )   CIVIL ACTION NO.
                                                 )    01-CV-10408-RCL
              v.                                 )
                                                 )
THE UNITED STATES OF AMERICA, et al.,            )
                                                 )
                            Defendants.          )
                                                 )
                                                 )


    MEMORANDUM AND ORDER ON MOTIONS OF DEFENDANTS AHEARN,
  CONNOLLY, FITZPATRICK, GREENLEAF, KENNEDY, MORRIS, AND RING FOR
     JUDGMENT ON THE PLEADINGS BASED ON QUALIFIED IMMUNITY
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LINDSAY, District Judge.

                                     I.   INTRODUCTION

       This is an action brought by Emily and Christopher McIntyre (the “plaintiffs”), as

co-administrators of the Estate of John L. McIntyre (the “Estate”), against James Ahearn, John J.

Connolly, Jr., Robert Fitzpatrick, James Greenleaf, Roderick Kennedy, John M. Morris, and

James A. Ring (collectively, the “agents,” all of whom were agents of the Federal Bureau of

Investigation (“FBI”) at various times relevant to the complaint); the United States of America;

and Kevin Weeks, James J. Bulger, and Stephen J. Flemmi, purported members of the Winter Hill

Gang, an alleged criminal organization operating in the Greater Boston area. The complaint

alleges that in 1984, McIntyre was murdered by Weeks, Bulger, Flemmi, or other members of the

Winter Hill Gang. The complaint further alleges that the agents are liable for the murder of

McIntyre because the agents chose to protect Bulger and Flemmi - - allegedly “top echelon”

informants of the FBI - - from prosecution, so that the agents could boost their own careers by

using the information Bulger and Flemmi provided to them to investigate, arrest, and prosecute

members of La Cosa Nostra (“LCN,” commonly known as the “Mafia”), a criminal organization

that was a rival to the Winter Hill Gang. As part of his alleged efforts to shield Bulger and

Flemmi from prosecution, Connolly, with the knowledge, assistance, or acquiescence of the other

agents (except Ahearn), allegedly informed Bulger and/or Flemmi that McIntyre was providing

the United States Drug Enforcement Administration (the “DEA”) with information that

incriminated Bulger and Flemmi in criminal activity within DEA’s area of concern. According to

the plaintiffs, the agents made, caused, or permitted this disclosure, knowing, or with deliberate

indifference to the possibility, that Bulger and Flemmi would in turn murder McIntyre or cause


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him to be murdered. The plaintiffs also allege that all of the agents subsequently violated the

constitutional rights of the Estate by engaging in “cover ups” of the murder of McIntyre and of

numerous other criminal activities of Bulger and Flemmi. The agents allegedly engaged in this

misconduct to preserve the status of Bulger and Flemmi as top echelon informants and to conceal

the FBI’s corrupt relationship with them.

       The complaint is in thirteen counts.1 In counts IX through XII, the plaintiffs assert claims

under Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388

(1971) against various combinations of the agents for the deprivation of rights guaranteed by

First, Fourth and Fifth amendments to the Constitution of the United States. The breakdown of

these claims is as follows:

       Count IX:      This count alleges a violation of the Fourth Amendment right of McIntyre
       to be free from unreasonable seizure by the government. The claim is asserted against all
       of the agents except Ahearn.

       Count X:        This count alleges a violation of the Fifth Amendment substantive due
       process right of McIntyre not to be deprived of his life or liberty by the government. The
       claim is asserted against all of the agents except Ahearn.

       Count XA:      This count alleges a violation of the Fourth and Fifth Amendment rights of
       McIntyre described in counts IX and X. The claim is asserted against Greenleaf and Ring
       under a theory of supervisory liability.

       Count XI:        This count alleges a conspiracy in violation of the Fourth and Fifth
       Amendment rights of McIntyre described in counts IX and X. The claim is asserted
       against all the agents.

       Count XII:      This count alleges a conspiracy to violate the First and Fifth Amendment
       right of the Estate to access to the courts. The claim is asserted against all the agents.



       1
         Two of these counts are labeled “count X”; I will refer to the second of the two as “count
XA.” Because count XIII is a request for attorneys’ fees, I consider it to be a prayer for relief
rather than the assertion of a cause of action.

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        Before the court are the motions of all of the agents for judgment on the pleadings as to

the Bivens claims, based on the defense of qualified immunity. On April 23, 2003, I ordered the

agents moving for dismissal on the ground of qualified immunity to file a joint memorandum in

support of their several motions to the extent that it was practicable to do so. McIntyre v. United

States, Civ. No. 01-10408 (D. Mass. Apr. 23, 2003) (docket entry 280). An individual

memorandum was to be filed only if the motion of an individual agent “raise[d] issues, with

respect to qualified immunity, that are unique in his circumstances.” Id. Pursuant to this order,

Ahearn, Fitzpatrick, Greenleaf, Kennedy, and Ring, together with four other agent defendants in

related cases,2 submitted their Consolidated Memorandum of Law in Support of the Individual

Defendants’ Motions to Dismiss or for Judgment on the Pleadings on the Basis of Qualified

Immunity (“Def.s’ Cons. Mem.,” docket entry 308). Morris filed a motion to join the motions of

the other defendants to dismiss on grounds of qualified immunity.3 Similarly, Connolly filed a

motion for judgment on the pleadings based on qualified immunity.4 The plaintiffs in this case

joined with plaintiffs in related cases in filing the Plaintiffs’ Consolidated Brief in Opposition to


        2
         Richard F. Bates, Dennis F. Creedon, Thomas J. Daly, and Lawrence Sarhatt.
        3
         In March 2004, by docket orders in this case, I granted Morris’s motion to join the
motion of the individual defendants, but did not issue an order with regard to whether he was
entitled to qualified immunity.
        4
         In his motion for judgment on the pleadings, based on qualified immunity, Connolly also
moved for judgment on the ground that the plaintiffs’ claims are time-barred. On March 24,
2004, I denied the motions of Ahearn, Fitzpatrick, Greenleaf, Kennedy, and Morris for judgment
on the pleadings based on the statute of limitations (docket entry 334). I did not dispose of
Connolly’s motion in that order, because he had moved for judgment on the pleadings based on
more than one ground. Nonetheless, my ruling set forth in the March 24, 2004 order, that the
Bivens claims in this action survive a statute of limitations defense, on a motion under Rule 12(c),
applies to Connolly’s motion as well. Thus, to the extent Connolly moves for judgment on the
pleadings, on the ground that the plaintiffs’ claims are time-barred, his motion is DENIED.

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Defendants’ Motion to Dismiss or for Judgment on the Pleadings on the Basis of Qualified

Immunity (“Pl.s’ Cons. Br. Opp.,” docket entry 321 in McIntyre). The individual defendants filed

a consolidated reply (docket entry 324).

                                           II.   FACTS

        For the purpose of the present motions, I must treat all well-pleaded facts, and all

reasonable inferences therefrom, as true. Martin v. Applied Cellular Tech., Inc., 284 F.3d 1, 6

(1st Cir. 2002); United States v. United State Currency, $81,000.00, 189 F.3d 28, 33 (1st Cir.

1999); see also Collier v. City of Chicopee, 158 F.3d 601, 602 (1st Cir. 1998) (motions for

judgment on the pleadings under Fed. R. Civ. P. 12(c) warrant the same treatment as motions to

dismiss under Fed. R. Civ. P. 12(b)(6)).

A.      The Agents

        A brief identification of each agent, based on the complaint, is helpful in understanding the

factual allegations.

        Agents assigned to the Organized Crime Squad of the FBI Boston Office. Connolly was

a special agent in the Organized Crime Squad (the “OCS”) of the FBI field office in Boston (the

“FBI Boston Office”) from approximately February 1973 until his retirement from the FBI in

1990. During this time, he was the “handler” of Bulger and Flemmi. Morris was assigned to the

FBI Boston Office roughly from March 1972 until November 1991. Between December 1977

and January 1983, Morris was the chief of the OCS and was Connolly’s direct supervisor. After

Morris left the OCS, he continued to have contact with Connolly, Bulger, and Flemmi. Ring was

the chief of the OCS from approximately January 1983 until 1990 and was Connolly’s direct

supervisor when McIntyre was murdered.


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       The “special agents in charge” of the FBI Boston Office. Greenleaf was the special

agent in charge (the “SAC”) of the FBI Boston Office from approximately November 1982 until

December 1986 and was the SAC at the time of the murder of McIntyre. Fitzpatrick was an

“assistant special agent in charge”(“ASAC”) of the FBI Boston Office assigned to the McIntyre

matter at the time Bulger and Flemmi murdered McIntyre.5 Ahearn assumed the position of SAC

of the FBI Boston Office upon Greenleaf’s departure and continued in that position for the

remainder of the time period relevant to the complaint.




       5
         The plaintiffs identify Fitzpatrick simply as a “special agent” rather than as a special agent
in the supervisory role of an ASAC. In his answer, however, Fitzpatrick admits by implication
that he was an ASAC in the FBI Boston Office, and that he had some supervisory responsibility
over the McIntyre matter at the time of McIntyre’s murder. See Fitz. Answer ¶ 257(c)
(“Fitzpatrick says that after McIntyre’s disappearance the entire matter was taken away from him
by Greenleaf and assigned to a different ASAC.” (emphasis added)); Fitzpatrick’s admission is
consistent with the findings in United States v. Salemme, 91 F. Supp. 2d 141, 225 (D. Mass.
1999) (Wolf, J.) (identifying Fitzpatrick as the FBI Boston Office ASAC in 1984 “with
responsibility for relations with the DEA”), rev’d in part on other grounds by United States v.
Flemmi, 225 F.3d 78 (1st Cir. 2000), cert. denied, 531 U.S. 1170 (2001). It is appropriate for
me to consider the information from Salemme in ruling on these motions for judgment on the
pleadings. See, e.g., Watterson v. Page, 987 F.2d 1, 3 (1st Cir. 1993) (“Ordinarily ... any
consideration of documents not attached to the complaint, or not expressly incorporated therein,
is forbidden [in connection with deciding a motion under Rule 12(b(6)], unless the proceeding is
properly converted into one for summary judgment under Rule 56. However, courts have made
narrow exceptions for documents the authenticity of which are [sic] not disputed by the parties;
for official public records; for documents central to [the] plaintiffs’ claim; or for documents
sufficiently referred to in the complaint.” (citation omitted)); Edwards v. John Hancock Mut. Life
Ins. Co., 973 F.2d 1027, 1030 n.1 (1st Cir. 1992) (recognizing that certain items in the record and
in the public record may be considered in a Rule 12(b)(6) motion without converting it to a
motion for summary judgment) (citation omitted); In re American Cont’l Corp./Lincoln Sav. &
Loan Sec. Litig., 102 F.3d 1524, 1537 (9th Cir. 1996) (“[M]atters of public record, including
court records in related or underlying cases which have a direct relation to the matters at issue,
may be looked to when ruling on a 12(b)(6) motion to dismiss.”), rev’d on other grounds sub.
nom. Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998).

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       Kennedy. Kennedy was a special agent in the FBI Boston Office when McIntyre was

murdered in 1984. He was the “operational liaison with other agencies concerning narcotics

matters.” Compl. ¶ 251.

B.     The Use of Informants by the FBI as Alleged in the Complaint

       In the mid-1960's the FBI, including the FBI Boston Office, began to investigate LCN. In

the Greater Boston area, LCN was in direct competition with the Winter Hill Gang - - a more

local, clandestine criminal organization. As the FBI investigated LCN, the development of “top

echelon” criminal informants became a high priority for the agency. Top echelon informants were

individuals who “could provide a continuous flow of quality criminal intelligence information

regarding the leaders of organized crime.” Id. ¶ 39. Information provided to the FBI by its

informants permitted the FBI to prosecute and convict members of LCN. Thus, an FBI agent’s

success in developing informants - - particularly top echelon informants - - could significantly

advance the agent’s career.

       Although often ignored in the FBI Boston Office, guidelines in the FBI Manual of

Instructions (the “Guidelines”) prescribed limitations on the use of informants. The Guidelines

required that

       special care be taken not only to minimize ... use [of informants] but also to ensure
       that individual rights are not infringed and that the government itself does not
       become a violator of the law. Informants as such are not employees of the FBI,
       but the special relationship of an informant to the FBI imposes a special
       responsibility upon the FBI when the informant engages in activity where he has
       received, or reasonably thinks he has received encouragement or direction for that
       activity from the FBI.

Id. ¶ 110. Similarly, the Guidelines advised agents that “[t]he FBI may not use informants ... for

acts ... which the FBI could not authorize for its undercover agents.” Id. ¶ 111 (alterations in


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original). Further, the Guidelines mandated that ‘[u]nder no circumstances shall the FBI take any

action to conceal a crime by one of its informants.” Id. ¶112. “[I]f the FBI learned that one of its

informants had violated the law in furtherance of his assistance to the FBI,” the FBI was required

to report the crime to law enforcement or prosecutive authorities, or to the United States

Department of Justice. Id. ¶¶113; 114. The Guidelines contained the same mandate where the

FBI had “knowledge that one of its informants had committed a serious crime unconnected with

his FBI assignments.” Id. ¶115 (internal quotation marks omitted). The Guidelines also dictated

that agents seek pre-authorization to permit an informant to commit a crime in order to obtain

information for the FBI. Finally, the Guidelines required agents to “avoid any disclosure to

anyone which might permit identification of a criminal informant or even cast suspicion on a

criminal informant.” Id. ¶ 109.

C.     The Development of Bulger and Flemmi as Informants as Alleged in the Complaint

       Flemmi was first developed as a top echelon informant in 1967 by H. Paul Rico, then a

special agent in the FBI Boston Office. At the time, Rico knew Flemmi was “a suspect of [sic]

possibly being involved in gangland slayings.” Id. ¶ 47. “Rico promised Flemmi protection from

the FBI if Flemmi would become an FBI informant.” Id. ¶ 43. Rico proved true to that promise.

For example, in 1969, he warned Flemmi to leave Boston because Flemmi would soon be

indicted; in 1974, Rico successfully arranged to have a murder charge against Flemmi dropped

upon Flemmi’s return to Boston.

       The same year that Flemmi returned to Boston, Connolly transferred from an FBI field

office in New York to the FBI Boston Office. As a special agent in the OCS, Connolly sought to

cultivate Bulger as an informant. Despite the fact that Bulger was known to be violent, Connolly


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extended the same promise of protection to Bulger that Rico had given Flemmi. In 1975,

Connolly succeeded in having Bulger designated as a “top echelon” informant. Shortly thereafter,

Flemmi, who was working with Bulger, but was no longer an official FBI informant, also began

providing information to Connolly. Flemmi was eventually re-registered as an FBI informant in

1980. Connolly continued to act as the “handler” of Bulger and Flemmi until he retired from the

FBI in 1990, even though, at times, he led FBI headquarters in Washington, D.C. to believe that

he was no longer using them as informants.

D.     Allegations that the Agents Shielded Bulger and Flemmi from Investigation and
       Prosecution

       All of the agents “knew that despite their cooperation with the FBI, Bulger and Flemmi

were still engaged in serious criminal wrongdoing.” Id. ¶ 84. The agents went to great lengths to

protect Bulger and Flemmi from investigation and prosecution by state law enforcement agencies,

other federal agencies, and even other offices and divisions of the FBI. The agents had several

incentives to ensure that the criminal activities of Bulger and Flemmi were not exposed. The

information that Bulger and Flemmi provided to Connolly and Morris enabled them and the other

agents to investigate and prosecute key members of LCN, resulting in prestige not only for

Connolly and Morris, but for those above them in the chain of command. Further, as Connolly

and Morris became more entrenched in their relationship with Bulger and Flemmi, Connolly and

Morris treated Bulger and Flemmi more as friends than as criminals, accepting from Bulger and

Flemmi gifts, including wine and money. If Bulger and Flemmi were prosecuted, their corrupt

relationship with Connolly and Morris would have been disclosed. Moreover, with each improper




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deflection of an investigation of Bulger and Flemmi, it became more important for Connolly,

Morris, and the other agents to prevent the previous “cover ups” from being discovered.

       One of the ways in which Connolly and Morris helped Bulger and Flemmi to avoid

investigation and prosecution was by alerting them that criminal associates of the two Winter Hill

gangsters were cooperating or might cooperate with law enforcement agencies in providing

information about the gangsters’ criminal activities. Such disclosures prompted Bulger and

Flemmi to murder persons who had been identified by Connolly and/or Morris as actual or

possible informants. After each murder, the agents failed to perform a thorough investigation of

the crime and prevented other law enforcement agencies from discovering the circumstances of

the victim’s death.

       In 1976, for example, Bulger and Flemmi learned from Connolly that Richard Castucci

was providing the FBI with specific information regarding the whereabouts of two fugitive

members of the Winter Hill Gang. As a result of Connolly’s disclosure, Bulger and Flemmi

murdered Castucci on or about December 29, 1976. In 1981, Bulger and Flemmi learned from

Connolly that Oklahoma businessman Roger Wheeler, an official of World Jai Alai (“WJA”),

suspected that John Callahan, the president of WJA, was skimming money from WJA for the

Winter Hill Gang. On May 27, 1981, Bulger, Flemmi and others caused Wheeler to be shot and

killed in Tulsa, Oklahoma. In January 1982, Brian Halloran, a member of the Winter Hill Gang,

began to cooperate with the FBI Boston Office and implicated Bulger, Flemmi, and Callahan in

the Wheeler murder. Morris learned of Halloran’s cooperation and passed on the information to

Connolly. Connolly in turn disclosed Halloran’s cooperation to Bulger and Flemmi, and, on May

11, 1982, Bulger and others gunned down Halloran outside a café in South Boston. Later that


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year, Connolly alerted Bulger and Flemmi that law enforcement agencies were seeking to question

Callahan about the Wheeler and Halloran murders; as a result, Bulger and Flemmi caused

Callahan to be murdered on or about August 1, 1982.

E.     The Murder of McIntyre in 1984 as Alleged in the Complaint

       In mid-October 1984, John McIntyre, the engineer on a ship called the Valhalla, began to

cooperate with the local police in the investigation of criminal activities in which Bulger was

involved. He revealed that Bulger participated in an attempt to use the Valhalla to smuggle

weapons from Massachusetts to the Irish Republican Army (“IRA”) in Ireland. The local police

arranged for agents from the United States Customs Service and the FBI, including defendant

Kennedy, to participate in the questioning of McIntyre. During the interview with Kennedy,

McIntyre repeated his allegations about Bulger’s involvement in the arms shipments. At the time

of this interview, Kennedy was aware of at least some of the ongoing criminal activities of Bulger

and Flemmi. Kennedy reported the information he received from McIntyre to Greenleaf;

Connolly was present when these FBI agents discussed McIntyre’s cooperation with law

enforcement agencies. In October or November 1984, Bulger and his associates learned from

Connolly that McIntyre was informing authorities about illegal activities carried out by Bulger and




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his associates.6 As a result of this disclosure, Bulger, Flemmi7 and Weeks kidnapped, tortured,

and murdered McIntyre on or about November 30, 1984.

       After the disappearance of McIntyre, the FBI Boston Office told his family that he was a

fugitive and failed to undertake any effort to investigate McIntyre’s disappearance. Moreover, in

the years following the murder of McIntyre, all of the agents continued to protect Bulger and

Flemmi from investigation and prosecution with respect to any of their criminal activities. See

generally id. ¶¶ 298-365, 472, 473.

F.     The Alleged Liability of the Agents

       In addition to the allegations set out above, the plaintiffs allege that the conduct of all the

agents, except Ahearn, resulted in the death of McIntyre because the agents

       continued to utilize Bulger and Flemmi as top echelon informants; failed to control
       the criminal activities of Bulger and Flemmi; failed to enforce the [Guidelines]
       governing high echelon informants, including Bulger and Flemmi; ... failed to
       inform the appropriate law enforcement or prosecutive authorities of the criminal
       activities of Bulger and Flemmi; continued to allow Connolly to remain Bulger and
       Flemmi’s “handler” when it was known or should have been known that he should
       have been removed from that position; failed to warn and protect McIntyre after
       he agreed to cooperate with federal law enforcement agencies; and failed to warn
       and protect McIntyre after it became known to the Bulger Group that McIntyre
       was cooperating with law enforcement officials concerning the illegal activities of
       the Bulger Group.

Id. ¶ 421, 427.



       6
        The plaintiffs allege that “associates of the Bulger Group learned that John McIntrye was
cooperating with law enforcement officials,” Compl. ¶ 255, instead of explicitly alleging that
Connolly disclosed McIntyre’s informant status to Bulger and Flemmi. All the same, from
Connolly’s knowledge of McIntyre’s cooperation, id. ¶ 254, and general allegations that Connolly
disclosed the identity of informants to Bulger and Flemmi, e.g., id. ¶¶ 88, 103, one may
reasonably infer that Connolly revealed McIntyre’s informant status to Bulger and Flemmi.
       7
        At the time of the murder of McIntyre, Morris had not been Connolly’s direct supervisor
for over a year. Nonetheless, Morris was still mired in his corrupt relationship with Connolly,
Bulger, and Flemmi.

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       The plaintiffs further assert that Ring and Greenleaf are liable for the murder of McIntyre

because they failed to supervise Connolly in his role as the “handler” of Bulger and Flemmi.

Likewise, the plaintiffs claim that Ring and Greenleaf allegedly failed to supervise Kennedy in his

duty to warn and protect McIntyre.

                                        III.   DISCUSSION

A.     Standard for Consideration of the Motions

       As explained above, when ruling on motions brought under Fed. R. Civ. P. 12(c), I must

accept as true the factual allegations of the complaint and draw all reasonable inferences

therefrom in favor of the plaintiff; I may not grant the motion unless “it appears beyond a doubt

that the plaintiff[s] can prove no set of facts in support of [their] claim[s] which would entitle

[them] to relief.” United States Currency, $81,000.00, 189 F.3d at 33.

B.     Qualified Immunity

       Under the qualified immunity doctrine, “government officials performing discretionary

functions generally are shielded from liability for civil damages insofar as their conduct does not

violate clearly established ... constitutional rights of which a reasonable person would have

known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). Indeed, qualified immunity is meant

to protect government officials not just from ultimate liability, but from the burdens of litigation

itself. Mitchell v. Forsyth, 472 U.S. 511, 526 (1985). Whether a government actor enjoys the

protection of qualified immunity in a given case is an issue that should be decided, as a matter of

law, at the earliest possible stage of a case. Anderson v. Creighton, 483 U.S. 635, 646, n.6

(1987). Nonetheless, “pre-trial resolution [of the question of qualified immunity] sometimes will

be impossible because of a dispute as to material facts. In such a case, the factual issues must be


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decided by the trier of fact ....” Kelley v. LaForce, 288 F.3d 1, 7 (1st Cir. 2002) (citation

omitted).8

       In determining whether qualified immunity applies in a specific case, a court must “first

determine whether the plaintiff has alleged the deprivation of an actual constitutional right at all,

and if so, proceed[] to determine whether that right was clearly established at the time of the

alleged violation.” Wilson v. Layne, 526 U.S. 603, 609 (1999) (quoting Conn v. Gabbert, 526

U.S. 286, 290 (1999)); see also Soto v. Flores, 103 F.3d 1056, 1064 (1st Cir. 1997). “[T]he

inquiry whether the right at issue was clearly established properly focuses ‘not upon the right at its

most general or abstract level, but at the level of its application to the specific conduct being

challenged.’” Singer v. Maine, 49 F.3d 837, 845 (1st Cir. 1995) (quoting Wiley v. Doory, 14

F.3d 993, 995 (4th Cir. 1994)). Where a plaintiff seeks to hold a defendant liable by virtue of the

defendant’s supervisory authority over a subordinate, who violated a constitutional right of the

plaintiff, “the ‘clearly established’ prong of the qualified immunity inquiry is satisfied when (1) the

subordinate’s actions violated a clearly established constitutional right, and (2) it was clearly



       8
         See also Johnson v. Jones, 515 U.S. 304, 316 (1995) (“Many constitutional tort cases ...
involve factual controversies about, for example, intent - - controversies that, before trial, may
seem nebulous.”); Rivera-Jimenez v. Pierluisi, 362 F.3d 87, 93 (1st Cir. 2004) (summary
judgment based on qualified immunity inappropriate where parties disputed government actor’s
purpose in terminating plaintiff’s employment, and termination, if retaliatory, deprived the plaintiff
of her rights under the First Amendment); Prokey v. Watkins, 942 F.2d 67, 73 (1st Cir. 1991)
(summary judgment based on qualified immunity inappropriate where plaintiffs alleged that
reasonable law enforcement officer would have known warrant was not lawfully procured and
parties disputed law enforcement officer’s knowledge); Polk v. District of Columbia, 121 F.
Supp. 2d 56, 65 (D.D.C. 2000) (“Where ... the applicability of qualified immunity turns on the
facts known by public officials at the time of the challenged conduct and there is a genuine issue
with respect to the existence of such facts or the defendants’ knowledge thereof, the issue of
qualified immunity is subject to determination by the factfinder at trial.” (internal quotation marks
omitted)).

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established that a supervisor would be liable for constitutional violations perpetrated by his

subordinates in that context.” Camilo-Robles v. Hoyos, 151 F.3d 1, 6 (1st Cir. 1998); see also

Poe v. Leonard, 282 F.3d 123, 134 (2d Cir. 2002) (agreeing with the two-prong test in Camilo-

Robles and characterizing the second prong as requiring the plaintiff to show that the “supervisory

liability doctrine under which the [plaintiff] wishes to hold [the supervisor] liable” was clearly

established). Finally, if a defendant has violated a clearly established right, a court must then

consider “whether a reasonable official, similarly situated would understand that the challenged

conduct violated a constitutional norm.” Rivera-Jiménez, 362 F.3d at 93.

C.     Fourth Amendment

       The plaintiffs allege that the murder of McIntyre deprived McIntyre of his right under the

Fourth Amendment to be free from unreasonable governmental seizure and his Fifth Amendment

right to substantive due process. The plaintiffs, however, cannot maintain claims for the violation

of both of these rights, because “where a particular Amendment ‘provides an explicit textual

source of constitutional protection’ against a particular sort of government behavior, ‘that

Amendment, not the more generalized notion of ‘substantive due process,’ must be the guide for

analyzing these claims.’” Albright v. Oliver, 510 U.S. 266, 273 (1994) (quoting Graham v.

Connor, 490 U.S. 386, 395 (1989)).9 It is therefore important that I consider the Fourth

Amendment claims as a threshold matter.



       9
         The distinction between claims under the Fourth and Fifth amendments is more than a
matter of mere words. As discussed further in Part III.D.2, infra, in order to state a claim for a
violation of substantive due process rights, the executive conduct in question must “shock the
conscience.” County of Sacramento v. Lewis, 523 U.S. 833 (1998). In contrast, conduct subject
to Fourth Amendment scrutiny is unconstitutional merely if it is “unreasonable.” Anderson, 483
U.S. at 640-41.

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       The agents argue that the murder of McIntyre was not a Fourth Amendment seizure

because a seizure requires “governmental termination of freedom of movement through means

intentionally applied,” Brower v. County of Inyo, 489 U.S. 593, 597 (1989), and the plaintiffs

have failed “to assert that the individual defendants intended to bring about a particular result

[i.e., death] with regard to a particular decedent,” Def.s’ Cons. Mem. at 26. The agents also

maintain that a seizure only occurs when there is “direct police action intended to cause a

particular result,” and that, in this case, the claimed seizures were not “effectuated by Government

personnel such as the individual defendants.” Id. at 25, 26. In contrast, the plaintiffs argue that

the murder of McIntyre was “intended and [was] for the purpose of furthering [a] criminal

enterprise” comprising Connolly, Morris, and others, and that Bulger and Flemmi were acting as

“representative[s] of the government” when they murdered McIntyre. Pl.s’ Cons. Br. Opp. at 19,

20.

       Neither the argument of the agents nor that of the plaintiffs completely resolves the

question of whether the plaintiffs have alleged a seizure within the meaning of the Fourth

Amendment. While I cannot glean from the agents’ memorandum how they would define “direct

police action,”10 it is “well established that unlawful acts performed by informants at the instance

of Government officials may, for Fourth Amendment purposes, be treated as acts of the




       10
          The defendants cite Brower, 489 U.S. 593 at 596-97, in support of their assertion that a
seizure requires “direct police action,” Def.s’ Cons. Mem. at 25, and the plaintiffs have attributed
the quotation “direct police action” to Brower as well as to the defendants’ memorandum, Pl.s’
Cons. Br. Opp. at 19. Brower, however, does not contain the phrase “direct police action” and
the level of police participation in the conduct complained of was not at issue in that case.

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Government itself.” United States v. Bennett, 729 F.2d 923, 925 (2d Cir. 1984).11 Here, the

plaintiffs have adequately pleaded government action by alleging that the agents acted in concert

with Bulger and Flemmi and/or improperly supervised other FBI employees who did. Moreover,

the plaintiffs have explicitly or implicitly alleged that the agents either intended the death of

McIntyre and/or improperly supervised other defendants who so intended, thus satisfying the state

of mind requirement for a Fourth Amendment seizure.

        Despite the problems with the agents’ position and a superficial appearance of soundness

in the plaintiffs’ position, the plaintiffs’ argument nevertheless fails to carry the day for them.

Apparently the plaintiffs interpret Brower as holding that a Fourth Amendment seizure occurs

whenever “there is a governmental termination of freedom of movement through means

intentionally applied.” 489 U.S. at 597; Brower does not, however, stand for that proposition.

In Brower, the issue facing the Court was whether a Fourth Amendment seizure occurred when a



        11
          For additional authority on the application of the Fourth Amendment to the conduct of
private parties, see Skinner v. Railway Labor Executives’ Ass’n, 489 U.S. 602, 614 (1989)
(Fourth Amendment does not apply to private action unless the private party “acted as an
instrument or agent of the Government”); United States v. Jacobsen, 466 U.S. 109, 113 (1984)
(Fourth Amendment inapplicable where private party is “not acting as an agent of the Government
or with the participation or knowledge of any governmental official.” (quoting Walter v. United
States, 447 U.S. 649 (1980) (Blackmun, J., dissenting))); Coolidge v. New Hampshire, 403 U.S.
443, 487 (1971) (where a private party acts as an “instrument or agent” of the state in effecting a
search or seizure, Fourth Amendment interests are implicated); United States v. Pervaz, 118 F.3d
1, 6 (1st Cir. 1997) (no single test determines whether action by a private party may be imputed
to the government for purposes of the Fourth Amendment; relevant factors may include the “the
government’s role in instigating or participating” in the conduct, “its intent and the degree of
control it exercises over ... the private party, and the extent to which the private party aims
primarily to help the government or to serve its own interests”); United States v. Mendez-de
Jesus, 85 F.3d 1, 2-3 (1st Cir. 1996) (where two private citizens brought the defendant to a police
station, and there was “no suggestion that the government initiated or participated in the citizen
action,” the Fourth Amendment did not apply and the actions of the citizens did not constitute a
seizure under the Fourth Amendment).

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suspect, leading police in a high-speed pursuit, was killed by crashing into a police roadblock,

when he could have voluntarily stopped earlier. The Court explained that, where a suspect being

pursued by police unexpectedly loses control of his car and crashes, no seizure occurs because the

mechanism that terminated the suspect’s freedom of movement (his unexpected loss of control of

the car) was not same mechanism the officers employed in an effort to seize the suspect (show of

authority through flashing lights and siren). The Court held, however, that in the case before it, a

seizure had occurred because, by setting up a roadblock, the defendants intended to terminate the

suspect’s freedom of movement in the very manner that it happened:

       It is clear, in other words, that a Fourth Amendment seizure does not occur
       whenever there is a governmentally caused termination of an individual's freedom
       of movement (the innocent passerby), nor even whenever there is a governmentally
       caused and governmentally desired termination of an individual's freedom of
       movement (the fleeing felon), but only when there is a governmental termination of
       freedom of movement through means intentionally applied.

Id. at 596-97 (second emphasis added).

       Contrary to the implication the plaintiffs find in the foregoing language, the passage

indicates that “governmental termination of freedom of movement through means intentionally

applied” is merely one element of a Fourth Amendment seizure - - not the entire definition of such

a seizure. While all seizures are governmental terminations of freedom of movement through

means intentionally applied, the reverse is not true: not all governmental terminations of freedom

of movement through means intentionally applied are seizures. “[G]overnmental conduct which is

not actuated by an investigative or administrative purpose will not be considered a ‘search’ or

‘seizure’ for purposes of the Fourth Amendment.” Heinrich ex rel. Heinrich v. Sweet, 62 F.

Supp. 2d 282, 317 (D. Mass. 1999) (quoting United States v. Attson, 900 F.2d 1427, 1430 (9th



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Cir. 1990) (dismissing claim that federal defendants “seized” patients by conducting unproven and

dangerous medical experiments without their knowledge; complaint stated claim, however, for

violation of the patients’ substantive due process rights)). The Brower decision was necessarily

limited, by the factual circumstances of the case, to a discussion of the means by which the

government effected the seizure. Because the relevance of the Fourth Amendment to a police

pursuit of a fleeing suspect is patent, the Brower court did not need to consider whether the

officer’s conduct in question was actuated by an administrative or investigative purpose.

        In other cases, however, the distinction between police conduct actuated by an

administrative or investigative purpose and police conduct actuated by some other purpose must

be made. The Second Circuit’s analysis in Hemphill v. Schott, 141 F.3d 412 (2d Cir. 1998), is

helpful on this point.12 In Hemphill, the court held that the alleged conduct of police officers in

assisting a private citizen to shoot the plaintiff in the course of the officers’ arrest of the plaintiff



        12
          See also United States v. Lanier, 520 U.S. 259, 272 n.7 (1997) (explaining, in case
where jury found state judge criminally liable for violating the substantive due process rights of an
employee and a job applicant by sexually assaulting them, that Graham “does not hold that all
constitutional claims relating to physically abusive government conduct must arise under either the
Fourth or Eighth Amendments.”); Poe, 282 F.3d at 137 (holding that the Due Process Clause,
instead of the Fourth Amendment, was “proper source” of constitutional right violated when male
police officer secretly videotaped plaintiff as she was changing clothes in order to appear in a
police training video; the objectionable conduct “occurred outside of a criminal investigation or
other form of governmental investigation or activity.”); Rogers v. City of Little Rock, 152 F.3d
790 (8th Cir. 1998) (holding that plaintiff’s claim that police officer stopped her for traffic
violation, followed her home, entered her residence and raped her was properly analyzed as
substantive due process violation); Jones v. Wellham, 104 F.3d 620, 628 (4th Cir. 1997) (holding
that plaintiff’s claim that uniformed officer raped plaintiff after he insisted on giving the allegedly
intoxicated plaintiff a ride home was substantive due process claim; “[b]ecause the harm inflicted
did not occur in the course of an attempted arrest or apprehension of one suspected of criminal
conduct, the claim was not one of a Fourth Amendment violation but of the violation of the
substantive due process right”); cf. Cummings v. McIntire, 271 F.3d 341, 344 (1st Cir. 2001)
(“Claims of excessive force by a police officer arising outside the context of a seizure, and thus
outside the Fourth Amendment, are analyzed under substantive due process principles.”).

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was not a seizure within the meaning of the Fourth Amendment, but that the conduct did deprive

the plaintiff of his substantive due process rights. According to the plaintiff in that case, when the

defendant officers arrived at the scene of an armed robbery, they found that the victim, a store

owner and retired police officer, had been shot in the leg by the plaintiff. The officers asked the

store owner if he wanted to go directly to the hospital, and he replied that he wanted to

accompany the officers in their pursuit of the plaintiff - - who had fled in a jeep - - because the

store owner wanted to “get them.” Id. at 414. The officers permitted the store owner to ride in

their patrol car and at some point gave him one of their guns. The officers learned that the jeep

had stopped at a parking lot and proceeded to that site where, during the plaintiff’s standoff with

the police, the store owner and an on-duty police officer shot the plaintiff.

        The plaintiff, acting pro se, brought a claim under § 1983 against the officers, claiming the

defendants had used “excessive force” and “unlawful action” to deprive him of life and liberty. Id.

at 414. Without addressing the plaintiff’s allegations about the role the officers allegedly played

in “aiding and abetting” the private citizen’s shooting of the plaintiff, the district court granted the

defendants’ motions for summary judgment, holding that the force used by the police officer who

shot the plaintiff was reasonable for purposes of the Fourth Amendment.

        On appeal, the officers argued that their conduct with respect to the private citizen “must

be analyzed exclusively under the requirements of the Fourth Amendment” because it “occurred in

the context of [the plaintiff’s] arrest.” Id. at 418. The Second Circuit disagreed, and, in reversing

the decision of the trial court, explained that

        while some of the facts that comprise [the plaintiff]’s allegations with respect to
        the Officers’ aiding and abetting [the private citizen] occurred in the “context” of
        his arrest in a physical sense, the Officers’ alleged actions with respect to [the


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       private citizen] form a different kind of claim from excessive force in effecting an
       arrest. Graham’s holding that excessive force claims in the context of an arrest are
       to be analyzed under the Fourth Amendment's objective standards does not extend
       to this unusual situation in which the police officers allegedly engaged in a
       deprivation of rights coincident with, but distinct from, their arrest of the suspect.

Id. at 418-419.

       When compared to the more subtle circumstances in Hemphill, where the substantive due

process violation was “coincident” to, yet distinctive from, the police’s arrest of the victim, the

inapplicability of the Fourth Amendment to the allegations of the present plaintiffs is obvious.

The plaintiffs have not alleged facts suggesting that the murder of McIntyre was “governmental

conduct ... actuated by an investigative or administrative purpose.” Indeed, the plaintiffs have

argued that the murders were “for the purpose of furthering the criminal enterprise” among

Bulger, Flemmi, Connolly, Morris, and others. Pl.s’ Cons. Br. Opp. at 19. Moreover, the FBI

was not investigating McIntyre. On the contrary, the plaintiffs allege that McIntyre was murdered

to shut down or prevent investigations of criminal activity of Bulger and Flemmi.

       Because the Fourth Amendment is not the source of a constitutional right the agents may

have violated when they allegedly caused the murder of McIntyre, the plaintiffs have not stated a

claim against the agents under that Amendment. Thus, the motions of the agents for judgment on

the pleadings on the Fourth Amendment claims (counts IX, XA, and XI, to the extent the latter

two concern the Fourth Amendment), are GRANTED.

D.     Substantive Due Process Rights of McIntyre

       The plaintiffs have alleged in counts X, XA, and XI of their complaint that the agents

violated the substantive due process right of McIntyre to life and liberty by acts and omissions

that led to his murder. In their qualified immunity defense as to these claims, the agents argue



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that (1) the murder of McIntyre was not “government action,” and (2) McIntyre did not have

clearly established substantive due process rights that would have required the agents to protect

him from private violence. For the reasons set forth below, I deny in part and grant in part the

motions of the agents.

       1.      Conspiracy Claims

       Before embarking on an analysis of whether the conduct of the agents regarding the

murder of McIntyre violated his substantive due process rights, I will apply two principles that

will eliminate one of the conspiracy claims in this case. In count XI the plaintiffs allege that

Ahearn violated McIntyre’s substantive due process rights by joining a conspiracy whose

members had previously caused McIntyre’s murder in furtherance of the conspiratorial object of

protecting Bulger and Flemmi. The complaint, however, does not contain any reference to

conduct by Ahearn occurring prior to the death of McIntyre. It is therefore a legal and factual

impossibility that Ahearn violated the substantive due process rights of McIntyre, because those

rights terminated at the time of McIntyre’s death. See Judge v. Lowell, 160 F.3d 67, 76 n.15 (1st

Cir. 1998), overruled on other grounds by Educadores Puertorriqueños en Acción v. Hernández,

367 F.3d 61 (1st Cir. 2004). The claims against Ahearn cannot stand even if the murder of

McIntyre and Ahearn’s concealment of the circumstances of that murder were in furtherance of a

single conspiratorial object. Id.; Estate of Halloran v. United States, 268 F. Supp. 2d 91, 96 (D.




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Mass. 2003).13 Thus, I grant defendant Ahearn’s motion for judgment on the pleadings as to

count XI of the complaint.

       There is a second reason that impels me to grant the motions of Morris, Connolly,

Kennedy, Fitzpatrick, Ring, and Greenleaf as to count XI of the McIntyre complaint. The stated

object of the conspiracy described in count XI was to protect Bulger and Flemmi from

investigation and prosecution. In a Bivens claim based on a theory of conspiratorial liability,

however, the plaintiffs must allege that the agents “act[ed] in concert” to (1) deprive the

decedents of their civil rights; or to (2) “commit a lawful act,” “the principal element of which is

an agreement between the [agents] to inflict an [unconstitutional injury] upon the [decedents].”

Earle v. Benoit, 850 F.2d 836, 844 (1st Cir. 1988) (internal quotation marks omitted). In other

words, the plaintiffs must allege that the underlying purpose of the agents in conspiring was to

commit the constitutional violation. In Estate of Halloran, for example, I held that a claim

virtually identical to count XI of the present complaint failed to state a claim for a Bivens




       13
           See also Ford v. Moore, 237 F.3d 156, 165 (2d Cir. 2001) (reversing the denial of an
officer’s motion for summary judgment on the basis of qualified immunity where plaintiff had
alleged that the officer violated the decedent’s rights by conspiring to cover up the fact that his
subordinates had shot and killed the decedent: “Even if there were a viable claim [against the
officer] for conduct after [the decedent’s] death, the death would have extinguished claim of [the
decedent].”); Silkwood v. Kerr-McGee Corp., 637 F.2d 743, 749 (10th Cir. 1980) (affirming
grant of FBI agents’ motion to dismiss Bivens claim that the agents were part of a conspiracy to
kill the decedent where plaintiff alleged that agents joined conspiracy after decedent’s death:
“[W]ith the death of [the decedent], the conspiracy to violate her rights terminated. Thus, the
FBI defendants could not be held liable for the prior violations of [the decedent]’s constitutional
rights even if a Bivens claim encompasses a relation back theory of conspiracy.”); Guyton v.
Phillips, 606 F.2d 248, 251 (9th Cir. 1979) (affirming dismissal of claim for the violation of the
decedent’s civil rights against officials whose alleged misconduct consisted of covering up the
circumstances of the decedent’s death; “[I]nasmuch as [the decendent]’s civil rights must
terminate with his death, so must any conspiracy to deprive him of those rights.”).

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conspiracy claim, because the plaintiff had not alleged that the object of the conspiracy was to

deprive the decedent his constitutional rights. 268 F. Supp. 2d at 96. I pointed out that “the

[plaintiff] is not able to show that the goal of protecting law enforcement informants is wrongful

or unlawful,” and I suggested that “law enforcement agents regularly form common plans to

protect their sources as a matter of good investigative practice.” Id. at 95.14 Count XI suffers the

same infirmity as the claim I dismissed in Halloran. Even if the agents foresaw or should have

foreseen that the acts furthering their conspiratorial object would deprive McIntyre of his

substantive due process rights, the claim cannot go forward because the plaintiffs have not alleged

that the deprivation was the object or “principal element” of the agents’ agreement. Cf. Lowden

v. William M. Mercer, Inc., 903 F. Supp. 212, 220 (D. Mass. 1995) (dismissing civil rights

conspiracy claim brought under 42 U.S.C. § 1985(3) to deprive plaintiff of her right to interstate

travel where complaint alleged a conspiracy to prevent plaintiff from meeting with out-of-state

corporate officials to discuss plaintiff’s allegations of employment discrimination; statute provided

protection against conspiracies for the purpose of depriving persons of constitutional rights,

whereas defendants’ purpose was to prevent plaintiff from meeting with corporate officials

regardless of their location; interference with plaintiff’s interstate travel was “incidental”).

Permitting a Bivens conspiracy claim to go forward where the constitutional deprivations were

merely “foreseeable” contravenes the principle that “the Constitution does not guarantee due care

on the part of state officials; liability for negligently inflicted harm is categorically beneath the

threshold of constitutional due process.” County of Sacramento v. Lewis, 523 U.S. 833, 848


        14
        Indeed, the agents’ alleged failure to form or execute a plan to protect McIntyre is the
very conduct at the heart of the claim of the plaintiffs.

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(1998). Accordingly, the motions of all of the agents for judgment on the pleadings are hereby

GRANTED as to count XI of the complaint.15

        2.      The Substantive Due Process Claim Against Connolly

        Although, all of the agents allegedly protected Bulger and Flemmi from investigation and

prosecution, Connolly’s alleged misconduct is at the heart of the plaintiff’s allegations. Connolly

was the agent whose alleged misconduct had the closest nexus to the murder of McIntyre:

Connolly allegedly revealed McIntyre’s informant status to Bulger and Flemmi, knowing that the

disclosure would result in injury to McIntyre. The alleged misconduct of the other agents

consists primarily of acts or failures to act in matters concerning Connolly’s “handling” of Bulger

and Flemmi. Thus, a necessary condition to the liability of these agents for a violation of the

clearly established substantive due process rights of McIntyre is that Connolly is liable for such a

violation. If Connolly did not violate the clearly established substantive due process rights of

McIntyre, then any misconduct by the other agents with respect to the murder of McIntyre will

not rise to the level of a constitutional violation. I therefore first examine whether the plaintiffs

have sufficiently alleged that Connolly violated the clearly established substantive due process

rights of McIntyre.

                a.      General Principles of Substantive Due Process

        The Fifth Amendment of the Constitution of the United States mandates that “[n]o person

shall ... be deprived of life, liberty, or property without due process of law.” U.S. Const. amend.


        15
           As demonstrated below in Part III.D.2.C(ii), infra, my holding regarding count XI does
not preclude a substantive due process claim where a plaintiff has alleged facts supporting an
inference that the agents agreed to violate McIntyre’s substantive due process right, even if the
plaintiff has not explicitly based the claim on a conspiracy theory.

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V. The “touchstone of due process is protection of the individual against arbitrary action of the

government.” County of Sacramento, 523 U.S. at 845 (quoting Wolff v. McDonnell, 418 U.S.

539, 558 (1974)). The Fifth Amendment guarantees two types of due process - - procedural and

substantive. Collins v. City of Harker Heights, 503 U.S. 115, 125 (1992). Whereas procedural

due process “provide[s] a guarantee of fair procedure in connection with any deprivation of life,

liberty, or property” by the government, due process, in the substantive sense, “protects individual

liberty against ‘certain government actions regardless of the fairness of the procedures used to

implement them.’” Id. (quoting Daniels v. Williams, 474 U.S. 327, 331 (1986)).16 The

“individual libert[ies]” protected by the guarantee of substantive due process are “those

fundamental rights and liberties which are, objectively, ‘deeply rooted in this Nation’s history and

tradition,’” Washington v. Glucksberg, 521 U.S. 702, 720-21 (1997) (quoting Collins, 503 U.S.

at 125), and so “‘implicit in the concept of ordered liberty’ that ‘neither liberty nor justice would

exist if they were sacrificed,’” id. at 721 (quoting Palko v. Connecticut, 302 U.S. 319, 325

(1937)).

                b.      Conscience-Shocking Conduct: The Touchstone of Arbitrary
                        Executive Conduct

        The guarantee of substantive due process “limits what the government may do in both its

legislative ... and its executive capacities,” and the “criteria to identify what is fatally arbitrary

differ depending on whether it is legislation or a specific act of a governmental officer that is at

issue.” Country of Sacramento, 523 U.S. at 846. Legislation infringing a litigant’s fundamental




        16
          Substantive due process analyses under the Fifth and Fourteenth amendments are
identical. See, e.g., Reno v. Flores, 507 U.S. 292, 301-02 (1993).

                                                    27
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rights is arbitrary in the constitutional sense unless the manner of “the infringement is narrowly

tailored to serve a compelling state interest.” Glucksberg, 521 U.S. at 721 (quoting Flores, 507

U.S. at 302).

       The touchstone of arbitrariness of executive conduct is of necessity different from that of

legislation. Because “only the most egregious official conduct can be said to be ‘arbitrary in the

constitutional sense,’” County of Sacramento, 523 U.S. at 846 (quoting Collins, 503 U.S. at

129), “the substantive component of the Due Process Clause is violated by executive action only

when it ‘can properly be characterized as ... conscience shocking,’” id. at 847 (quoting Collins,

503 U.S. at 128). The conscience-shocking standard provides relief where government officials

have “abus[ed] [their] power, or employ[ed] it as an instrument of oppression,” id. at 846

(quoting Collins, 503 U.S. at 126)), while it “preserv[es] the constitutional proportions of

constitutional claims,” and prevents the demotion of the Constitution “to a font of tort law,” id. at

848 n.8. Thus, “[o]utside of a few narrow categories, like the safeguarding of prisoners who have

been wholly disabled from self-protection, this means conduct that is truly outrageous,

uncivilized, and intolerable.” Hasenfus v. LaJeunesse, 175 F.3d, 68, 72 (1st Cir. 1999) (citing

County of Sacramento, 523 U.S. at 847). It is only where “the necessary condition of egregious

behavior [is] satisfied” that there is “a possibility of recognizing a substantive due process right to

be free of such executive action.” County of Sacramento, 523 U.S. at 847 n.8.

       Admittedly, the term “conscience-shocking” is far from self-defining. The Supreme Court

has observed that “the measure of what is conscience shocking is no calibrated yard stick,

[although] it does ... ‘poin[t] the way.’” County of Sacramento, 523 U.S. at 847 (quoting

Johnson v. Glick, 481 F.2d 1028, 1033 (2d Cir. 1973)). There are, however, some clear markers

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on the measuring stick: “liability for negligently inflicted harm is categorically beneath the

threshold of constitutional due process” while “conduct intended to injure in some way

unjustifiable by any government interest is the sort of official action most likely to rise to the

conscience-shocking level.” Id. at 849.17 Official acts falling somewhere between these two

benchmarks “may be actionable” depending on the circumstances. Id.

        As alleged in the complaint the conduct of Connolly in relation to the murder of McIntyre

is conscience-shocking because it was “conduct intended to injure [McIntyre] in some way

unjustifiable by any government interest.” According to the plaintiffs’ allegations and reasonable

inferences from those allegations, Connolly purposefully revealed McIntyre’s cooperation with the

DEA to Bulger and Flemmi. At the time of disclosure, Connolly knew that, under any

circumstance, revealing the identity of a confidential informant could result in the informant’s

death. He also fully appreciated that the danger was especially high in revealing to Bulger and

Flemmi the identity of informants who provided information about them to law enforcement

agencies. Connolly knew that Bulger and Flemmi had committed murders, and that they had

murdered other informants whose identities had been revealed to them. Thus, the plaintiffs have

alleged that the disclosure by Connolly of McIntyre’s confidential informant status to Bulger and

Flemmi was not only “conduct intended to injure” McIntyre, but also conduct intended to injure

him fatally. Moreover, the conduct was “unjustifiable by any government interest.” It is true that

the government had a legitimate interest in investigating and prosecuting members of LCN for




        17
         See, e.g., Hemphill, 141 F.3d at 419; Dwares v. City of New York, 985 F.2d 94, 96 (2d
Cir. 1993) (police officers’ conduct in encouraging a group of skinheads physically to attack flag-
burning demonstrators was conscience-shocking).

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their criminal activities, and, in a most perverse sense, the death of McIntyre furthered that lawful

goal. With good reason, however, neither Connolly nor any of the other agents has advanced a

Swiftian proposal18 that the government’s interest in prosecuting LCN warranted offering up

McIntyre as a sacrificial lamb. Indeed, it is a fundamental tenet of the Constitution that the ends

of law enforcement do not justify all means used to fight crime. See, e.g., Olmstead v. United

States, 277 U.S. 438, 485 (1928) (“To declare that in the administration of the criminal law the

end justifies the means - - to declare that the government may commit crimes in order to secure

the conviction of a private criminal - - would bring terrible retribution.”) (Brandeis, J.,

dissenting).19 Because the plaintiffs have alleged that the conduct of Connolly was “intended to

injure [McIntyre] in some way unjustifiable by any government interest,” the plaintiffs have

unquestionably pleaded conscience-shocking conduct on the part of Connolly.

                c.      Violation of a Fundamental Right

        I must next determine whether the plaintiffs have adequately alleged that the conscience-

shocking conduct of Connolly violated a fundamental right of McIntyre. A key question in

determining whether Connolly violated the substantive due process rights of McIntyre is whether

the plaintiffs’ allegations support the inference that the murder of McIntyre at the hands of



        18
          In Jonathan Swift’s 1729 satirical work A Modest Proposal: For Preventing the
Children of Poor People in Ireland from Being a Burden to Their Parents or Country, and for
Making Them Beneficial to the Public, the author proposes that the whole population of famine-
stricken Ireland would benefit from eating the babies of Irish parents too poor to provide for
them.
        19
         See also, e.g., Berger v. United States, 295 U.S. 78, 88 (1935) (explaining that in
prosecuting crime, while the government “may strike hard blows, [it] is not at liberty to strike foul
ones”); Olmstead, 277 U.S. at 470 (“It is a less evil that some criminal should escape than that the
government should play an ignoble role.”) (Holmes, J., dissenting).

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Bulger, Flemmi, or their associates, was sufficiently connected to the government to take the

crimes out of the category of purely private violence. While “[t]he Due Process Clause is

intended to prevent government officials ‘from abusing [their] power or employing it as an

instrument of oppression,’” Cummings, 271 F.3d at 346 (quoting County of Sacramento, 523

U.S. at 846 (alteration in original)), the “Clause is phrased in the negative. It says that a state

shall not ‘deprive’ residents of life, liberty, or property, save with due process. It does not require

the state to furnish residents with property they lack, or ensure that they do not suffer loss at

private hands,” Archie v. City of Racine, 847 F.2d 1211, 1220 (7th Cir. 1988).

        As discussed below, there are, however, limited circumstances under which the

government may have a duty to protect individuals from the wrongful acts of third parties. Here,

Connolly and the other agents contend that the murder of McIntyre was an act of private

violence, and that the narrow exceptions to the general rule that government agents do not have a

duty under the Constitution to protect citizens from the acts of private violence do not apply. In

contrast, the plaintiffs argue both that the murder of McIntyre implicates these exceptions and

that, moreover, the murder was not purely private conduct, but government action. For the

reasons explained below, I hold that the plaintiffs have adequately alleged that the murder of

McIntyre was government action.

                        i.      Murder of McIntyre as Private Violence

        There are two exceptions to the general rule that the guarantee of substantive due process

does not require the government to protect citizens from acts of private violence: (1) when the

government has restrained a citizen’s ability to care for himself, as in the case of incarcerated

persons or persons in a foster care setting, see DeShaney v. Winnebago County Dept. of Social

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Servs., 489 U.S. 189, 198-200 (1989); and (2) when the government, through its affirmative acts,

renders an individual more vulnerable to third-party violence, see Soto, 103 F.3d at 1064. Not

surprisingly, the parties on the present motions disagree sharply as to the scope of these duties

and their applicability to the present case.

                                (a)     Governmental Restraint of Victim

        In DeShaney, the Supreme Court observed that, absent any claim that the state created the

danger, a citizen does not have a constitutional right to be free from the violent acts of third

parties, unless the state has restrained the citizen’s liberty. In that case, state officials had taken

temporary custody of a small child, Joshua, after receiving reports that his father had physically

abused him. After the father voluntarily committed to taking certain steps to improve the child’s

welfare, the officials returned Joshua to his father’s custody. Although the officials later became

aware that the father was not adhering to the promises he made prior to Joshua’s return, and that

Joshua was showing signs of physical abuse, the state took no action until the father beat Joshua

so severely that the child fell into a life-threatening coma and became profoundly retarded.

Joshua and his mother brought a § 1983 action against the state Department of Social Services,

certain of its employees, and the county, alleging that the defendants violated Joshua’s substantive

due process rights “by failing to intervene to protect him against a risk of violence at his father's

hands of which they knew or should have known.” Id. at 193. The district court granted the

defendants’ motion for summary judgment, and the court of appeals affirmed.

        Affirming the lower courts, the Supreme Court reiterated the principle that there is no

general constitutional right to be free from private violence:




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        [N]othing in the language of the Due Process Clause itself requires the State to
        protect the life, liberty, and property of its citizens against invasion by private
        actors. The Clause is phrased as a limitation on the State's power to act, not as a
        guarantee of certain minimal levels of safety and security. It forbids the State itself
        to deprive individuals of life, liberty, or property without “due process of law,” but
        its language cannot fairly be extended to impose an affirmative obligation on the
        State to ensure that those interests do not come to harm through other means....
        Its purpose was to protect the people from the State, not to ensure that the State
        protected them from each other.

Id. at 195-196. The plaintiffs nonetheless argued that “even if the Due Process Clause imposes no

affirmative obligation on the State to provide the general public with adequate protective services,

such a duty may arise out of certain ‘special relationships’ created or assumed by the State with

respect to particular individuals.” Id. at 197. The plaintiffs maintained that “such ‘special

relationship’ existed [in that case] because the State knew that Joshua faced a special danger of

abuse at his father’s hands, and specifically proclaimed, ... its intention to protect him against that

danger.” Id. The plaintiffs conceded that the state did not play a part in creating the danger

Joshua faced. Id.

        The Court rejected the plaintiffs’ “special relationship” argument. Id. at 198.

Acknowledging that in some instances “the Constitution imposes upon the State affirmative duties

of care and protection with respect to particular individuals,” id., the Court held that such

circumstances were limited to where the state performed an “affirmative act of restraining the

individual's freedom to act on his own behalf - - through incarceration, institutionalization, or

other similar restraint of personal liberty,” id. at 200. In those situations, “it is the State’s

affirmative act of restraining the individual’s freedom to act on his own behalf ... which is the

‘deprivation of liberty’ triggering the protections of the Due Process Clause, not its failure to act

to protect his liberty interests against harms inflicted by other means.” Id.; see also Davis v.

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Rennie, 264 F.3d 86, 98 (1st Cir. 2001) (“Once the state restrains an individual’s liberty,

rendering that individual unable to act for himself ... the state does acquire an affirmative duty to

protect.” (quoting Shaw v. Strackhouse, 920 F.2d 1135, 1144 (3d Cir. 1990)) (alteration in

original)). In other words, the underlying relationship giving rise to a concomitant constitutional

duty on the part of the government to protect an individual from private violence is one in which

the government has restrained someone against his/her will. First Circuit cases decided after

DeShaney unequivocally demonstrate that this “governmental restraint of freedom” exception20 to

the general rule that the Constitution does not protect against private violence is limited to

situations where government officials have forcibly restrained an individual in a physical rather

than in a figurative sense. In Souza v. Pina, 53 F.3d 423 (1st Cir. 1995), for example, the First

Circuit rejected the argument of a § 1983 claimant that prosecutors had allegedly driven the


        20
           I recognize that many federal courts refer to this exception as the “special relationship”
exception, but the Supreme Court never has adopted the term in discussing whether an individual
has a right to protection from third-party violence. Instead, in DeShaney, the Court rejected the
plaintiffs’ argument that a supposed “special relationship” between the state and Joshua gave rise
to a governmental duty to protect the child, and the Court used the term only in characterizing the
plaintiff’s argument and in referring in a parenthetical to a “special relationship” as possibly giving
rise to a common law affirmative duty to act. Id. at 202.

         Thus, use of the phrase “special relationship” to refer to the government’s constitutional
duty to protect those whom it has physically restrained by incarceration, institutionalization, or
similar methods is overly broad and possibly misleading. The governmental restraints of freedom
described in DeShaney might be characterized as a “special relationship,” but, because a “special
relationship” is also a basis for tort liability, the danger in transporting the term to the narrower
field of constitutional liability is that plaintiffs may point to cases defining the government/plaintiff
relationship as “special” under tort law, see, e.g., McIntyre v. United States, 367 F.3d 38, 54 (1st
Cir. 2004) (reversing my dismissal of tort claims against the United States on the basis of the
statute of limitations, and acknowledging that the tort claims “arise[] out of a special duty that the
government has to confidential informants who would be endangered if their informant status
were revealed to others” (emphasis added)), to bolster arguments that the governmental restraint
of freedom exception of DeShaney applies to their substantive due process claims.

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plaintiff’s decedent to commit suicide. The court discerned no constitutional duty to protect the

decedent because the prosecutors had not restrained him within the meaning of DeShaney. The

plaintiff had maintained that, in light of the fact that the prosecutors knew or should have known

that the decedent had posed a risk of suicide, their alleged misconduct limited the decedent’s

freedom “as greatly as if he were locked in maximum security.” Id. at 426. In reversing the

district court’s denial of the prosecutors’ motion to dismiss based on qualified immunity, the First

Circuit explained that “the Supreme Court has made clear that the state has a duty to protect only

when it affirmatively acts to restrain the ‘individual’s freedom to act on his own behalf - - through

incarceration, institutionalization, or other restraint of personal liberty.’” Id. (quoting DeShaney,

489 U.S. at 200).21 Similarly, in Monahan v. Dorchester Counseling Center, Inc., 961 F.2d 987

(1st Cir. 1992), the court affirmed the dismissal of § 1983 claim in a case where a voluntarily

committed mental health patient alleged he was injured when he jumped out of a van driven by

state employee. At the time, the plaintiff was being transported from a state mental health




       21
          See also Hasenfus, 175 F.3d at 71 (affirming dismissal of § 1983 claim in which parents
alleged that the board of education, a gym teacher, and others had violated the substantive due
process rights of their daughter who had attempted suicide at school; explaining that “[t]he main
exceptions to [the general DeShaney rule] are incarcerated prisoners or involuntarily committed
mental patients for whom a set of unique rules has developed” and that this custodial relationship
did not exist between the daughter and school officials); Frances-Colón v. Ramirez, 107 F.3d 62,
63-64 (1st Cir. 1997) (affirming summary judgment in favor of government-employed doctors in
§ 1983 action by parents alleging that the doctors who delivered the parents’ baby violated the
baby’s substantive due process rights by failing to perform a cesarean delivery; “A substantive due
process interest in ‘bodily integrity’ ... cannot support a personal injury claim under section 1983
against the provider of a governmental service unless: (a) the government has taken the claimant
into custody or otherwise coerced the claimant into a situation where he cannot attend to his own
well-being ...; or (b) the government employee, in rare and exceptional case[s], affirmatively acts
to increase the threat of harm to the claimant of affirmatively prevents the individual from
receiving assistance.”).

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treatment center to a state-run group home. The court reasoned that the DeShaney governmental

restraint exception did not apply because the state had not committed the plaintiff involuntarily

and therefore had not taken an “affirmative act” of restraining the plaintiff’s liberty. Id. at 991.

        Despite this case law, the plaintiffs argue that, because McIntyre was a government

informant, he was “owed a constitutionally protected duty of care arising out of a recognized

‘special relationship.’” Pl.s’ Cons. Br. Opp. at 11. The plaintiffs label the “‘defendants’ reliance

on the proposition “that this only occurs ‘through incarceration, institutionalization, or other

similar restraint of personal liberty’’” as “misplaced and incomplete,” id. (quoting Def.s’ Cons.

Mem. at 18), and maintain that “serving as a confidential informant for law enforcement

significantly compromises one’s ability to protect oneself, quite in the same fashion as if one were

in a prison setting,” id.

        The plaintiffs’ argument fails because, unlike an inmate or involuntarily institutionalized

patient, the informant/government relationship is voluntary and does not involve physical restraint

by government agents. The plaintiffs have not suggested that the government physically forced

McIntyre to become an informant. To be sure, because McIntyre was suspected of criminal

activity, his decision to cooperate might have been based on persuasive argument by the

government that it was in his interest to assist the government’s investigation and prosecution of

the criminal activities of others. It is also safe to say that confidential informants are generally

more at risk than persons who are not informants. But neither the government’s leverage in

recruiting criminal suspects to become informants nor the danger inherent in one’s acceptance of

that role amounts to “incarceration, institutionalization, or other similar restraint of personal

liberty.” DeShaney, 489 U.S. at 200. Whatever metaphorical shackles may be inherent in

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becoming an informant, or to whatever degree being an informant “significantly compromises

one’s ability to protect oneself,” is simply insufficient to cloth the informant with substantive due

process rights to protection from the harm he might suffer as a consequence of being an

informant. Like the patient in Monahan, who voluntarily committed himself to a mental

institution, McIntyre chose to be an informant. His freedom to choose whether to cooperate with

the government bears no resemblance to the situation of one who, by action of the government, is

forced behind locked hospital or prison doors.22

                               (b)     State-Created Danger

       Another exception to the general rule that there is not a constitutional right to be free from

private violence is the so-called “state-created danger” theory. In DeShaney, the Court implicitly

acknowledged that, where the government’s affirmative acts render a citizen more vulnerable to

private violence, the citizen has a corresponding constitutional right to be protected from that

violence:

       While the state may have been aware of the dangers Joshua faced in the free world,
       it played no part in their creation, nor did it do anything to render him any more
       vulnerable to them. That the State once took temporary custody of Joshua does
       not alter the analysis, for when it returned him to his father’s custody, it placed
       him in no worse position than that in which he would have been had it not acted
       at all; the State does not become the permanent guarantor of an individual’s safety
       by having once offered him shelter. Under these circumstances, the State had no
       constitutional duty to protect Joshua.




       22
          Further, the plaintiffs’ characterization of the government’s obligation to the informants
as a “duty of care” betrays the argument that the agents’ failure to protect McIntyre from private
violence was a wrong of constitutional dimension. The existence of a “duty of care” is an element
of a negligence claim, see Magarian v. Hawkins, 321 F.3d 235, 238 (1st Cir. 2003), but “liability
for negligently inflicted harm is categorically beneath the threshold of constitutional due process,”
County of Sacramento, 523 U.S. at 849.

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489 U.S. at 201 (emphasis added). Although this so-called state-created danger theory existed in

one form or another prior to DeShaney, see, e.g., Soto, 103 F.3d at 1064-65 (providing an

overview of the development of the state-created danger theory of substantive due process

rights), many courts have read DeShaney as recognizing a constitutional requirement that the

government protect a citizen only when the government’s affirmative acts place a person in a

“worse position than ... had it not acted at all.” See, e.g., Hasenfus, 175 F.3d at 73 (citing

DeShaney, and explaining that “[w]here a state official acts so as to create or even markedly

increase a risk, due process constraints may exist, even if inaction alone would raise no

constitutional concern”).23

       The agents argue that the plaintiffs cannot rely on the state-created danger theory because,

at the time of the agents’ alleged misconduct, a substantive due process right based on this theory

was not “clearly established.” The threshold question for a court to consider in assessing the

qualified immunity defense in a given case, however, is whether “the facts alleged show the

[defendants’] conduct violated a constitutional right.” Saucier v. Katz, 533 U.S. 194, 201 (2001).

Thus, before considering the question of whether the right of a citizen to be protected from state-

created dangers was clearly established at the time of McIntyre’s murder, I must first determine

whether the alleged conduct of Connolly violated that right as to McIntyre. This is not a difficult

analysis: revealing to known murderers that one of their associates is an informant, cooperating


       23
         See also Martinez v. Colon, 54 F.3d 980, 984-85 (1st Cir. 1995) (citing Deshaney and
noting that the plaintiff had not sought to avoid the general rule of DeShaney by alleging that “the
state made him more vulnerable to [the harassing officer]’s actions”); Doe v. Town of Bourne,
2004 WL 1212075, at *7 (D. Mass. May 28, 2004) (Woodlock, J.) (acknowledging viability of
theory); Coyne v. United States, 270 F. Supp. 2d 104, 120 (D. Mass. 2003) (same); Willhauck v.
Mansfield, 164 F. Supp. 2d 127, 134-135 (D. Mass. 2001) (same).

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with the government, unquestionably endangers the safety of that informant. Therefore when

plaintiffs allege that, in disclosing the informant status of McIntyre to Bulger and Flemmi,

Connolly acted affirmatively to put the life of McIntyre in jeopardy, they have sufficiently alleged

a violation by Connolly of McIntyre’s substantive due process right to be protected from the

danger of the government’s own creation.

       But the plaintiffs argue in vain when they assert that the “state-created danger” theory, or

the “constitutional duty not to affirmatively abuse governmental power so as to create danger to

individuals and render them more vulnerable to harm,” Soto, 103 F.3d at 1064, was clearly

established at the time Bulger and Flemmi are alleged to have murdered McIntyre. Soto v. Flores

forecloses this argument. In Soto, the plaintiff had reported her husband’s emotional and physical

abuse of her to police officers. At the time of the report, the plaintiff bore the visible marks of

recent physical abuse; she also expressed her fear that her husband would murder her if he learned

she had reported his abuse. Despite the plaintiff’s voiced concern, the police officers did not take

the husband into custody and in fact alerted the husband to the plaintiff’s allegations. After

learning of the report, the husband killed the couple’s two children and then himself, leaving a

note indicating he had learned of the mother’s domestic abuse report. Advancing a state-created

danger theory of liability, the plaintiff claimed the officers had violated, among other things, her

substantive due process rights and those of her children. The First Circuit held, however, that, “in

1991 ‘the contours of [a substantive due process right under state-created danger theory] were

[not] sufficiently plain that a reasonably prudent state actor would have realized not merely that

his conduct might be wrong, but that it violated a particular constitutional right.’” Id. at 1065

(quoting Martinez, 54 F.3d at 988 (second alteration in original)). Citing White v. Rochford, 592

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F.2d 381, 383 (7th Cir. 1979), the First Circuit did acknowledge, however, that the “‘state-

created danger theory,’ has been recognized by some federal courts as a viable mechanism for

establishing a constitutional claim at least since 1979.” 103 F.3d at 1064 (quoting Kneipp v.

Tedder, 95 F.3d 1199, 1201 (3d Cir. 1996)). Nonetheless, the court concluded that the history of

the theory was “an uneven one,” and that the court could not “extract a clearly established right

from a somewhat confusing body of caselaw through the use of hindsight.” Id. at 1065.

       In light of the First Circuit’s unambiguous holding in Soto that a substantive due process

right under the state-created danger theory was not clearly established in 1991, the plaintiffs face

a formidable obstacle. The plaintiffs contend, however, that Soto is inapplicable to their case

because Soto failed to “distinguish [between] materially distinct theories of state created danger,”

and because the harm to which the agents exposed McIntyre was a more likely and more

dangerous harm than that implicated in the cases cited by the First Circuit in Soto. Pl.s’ Cons. Br.

Opp. at 16 The plaintiffs also maintain that Soto is inapposite, because, in Soto, there was no

evidence that the children (rather than the plaintiff) were at risk of being killed by the husband.

Contrasting their case with Soto, the plaintiffs point out that McIntyre was both the anticipated

and actual victim of the danger created by the agents. Pl.s’ Cons. Br. Opp. at 15-16.

       While there may be factual distinctions between Soto and the present case, these

differences are immaterial insofar as the plaintiffs rely on a state-created danger theory for their

contention that the agents violated a clearly established right. The decision in Soto was not

premised on the degree of harm the victims faced or the fact that the father had only threatened to

kill the plaintiff, rather than the couple’s children. Such factors might be material to an inquiry




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into whether a right under the state-created theory was violated, but not whether the right existed

in the first place.

        Finally, the plaintiffs seek to avoid the result required by Soto by arguing that, even if the

First Circuit had not recognized the state-created danger theory at the time of the murder of

McIntyre, “a factual question still exists whether the defendants ... had special knowledge through

FBI legal training, regarding the emerging ‘state created danger’ theory prior to [the alleged

misconduct by the defendants].” Pl.s’ Cons. Br. Opp. at 3 (emphasis added). The mere statement

of this proposition undermines the viability of the argument that the theory of liability based on

state-created danger was clearly established at the time McIntyre’s murder. If the state-created

danger is only “emerging,” perforce it is not clearly established. Furthermore the question of

whether a constitutional right is “clearly established” is a legal question, not a fact question.

Elder v. Holloway, 510 U.S. 510, 516 (1994) (“Whether an asserted federal right was clearly

established at a particular time, so that a public official who allegedly violated the right has no

qualified immunity from suit, presents a question of law, not one of ‘legal facts.’”).

                        ii.     Murder of McIntyre as Government Action

        The question of whether the agents violated the substantive due process rights of

McIntyre need not be cast only in terms of the possible obligation of the agents to protect

McIntyre from private violence, however. Not all action by non-governmental employees is

private action. Here, the plaintiffs have alleged that Connolly gave Bulger and Flemmi

information, opportunity, encouragement, and protection to murder McIntyre. It is also

reasonable to infer from such allegations that the murder of McIntyre was the intended result of

Connolly’s disclosure. Under the circumstances as alleged, I hold that the involvement of

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Connolly in the murder of McIntyre transformed what ordinarily would have been a crime

committed by private individuals into government action.

                               (a)     Attributing Conduct of the Informants to the
                                       Government

       As a prelude to the discussion of whether the murder of McIntyre is to be considered

government action, it is worth noting that the federal courts have long held that the government

may not categorically absolve itself of responsibility for the actions of its informants simply by

disclaiming any formal agency relationship with them. Almost half a century ago, in Sherman v.

United States, 356 U.S. 369 (1958), the Supreme Court held that an unpaid informant was acting

as an agent of the government when he persuaded a criminal defendant to procure narcotics.

Because the informant had repeatedly attempted to have the defendant obtain drugs, including by

appealing to the defendant’s sympathy and by inducing the defendant to return to his narcotics

habit, the Court held that the defendant was not criminally liable because the government, through

the informant, had entrapped the defendant. In so ruling, the Court explicitly stated that the

informant had acted as an agent of the government, even if the government, by turning a blind eye

to the informant’s tactics, was not aware of all of the informant’s activities:

       [The] Government cannot disown [the informant] and insist it is not responsible
       for his actions. Although he was not being paid, [the informant] was an active
       government informer who had but recently been the instigatory [sic] of at least two
       other prosecutions.... In his testimony the federal agent in charge of the case
       admitted that he never bothered to question [the informant] about the way he had
       made contact with [defendant]. The Government cannot make such use of an
       informer and then claim disassociation through ignorance.

Id. at 373-75. Similarly, in Hoffa v. United States, 385 U.S. 293 (1966), the Court warned that

although the use of secret informants to investigate criminal suspects is not per se



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unconstitutional, an informant is not “to the slightest degree more free from all relevant

constitutional restrictions than is any other government agent.” Id. at 311.24 Lower courts have

likewise held that an informant’s misconduct in investigating a criminal suspect may constitute

“outrageous conduct,” violative of the suspect’s due process rights, requiring that an indictment

against the suspect/defendant be dismissed.25

       24
           See also United States v. Groll, 992 F.2d 755, 759 n.3 (7th Cir. 1993) (“A confidential
informant is an agent of the government for entrapment purposes.”); United States v. Campbell,
874 F.2d 838, 843-45 (1st Cir. 1989) (holding that a jury was adequately charged on the
entrapment defense when the district court’s instruction permitted a finding that the informant’s
conduct could be imputed to the government); United States v. Bueno, 447 F.2d 903, 905 (5th
Cir. 1971) (reversing defendant’s conviction on the basis of entrapment: “There is no evidence
from which to infer that the [government official] knew of this activity of the Informer, who was
employed only on a temporary basis. However, we believe that the facts must be viewed in their
entirety for the purpose of considering their effect on this prosecution. Both the [government
official] and the Informer must be treated as acting in concert, each with full knowledge of the
actions of the other.”).
       25
          See, e.g., United States v. Bogart, 783 F.2d 1428, 1432-34 (9th Cir. 1986) (holding that
criminal defendant had made a sufficient showing of government “outrageous conduct” to require
the district court to make finding of facts on whether prosecution would violate the defendant’s
due process rights), vacated in part as to other defendant in United States v. Wingender, 790
F.2d 802 (9th Cir. 1986); United States v. Sabri, 973 F. Supp. 134, 139 (W.D.N.Y. 1996)
(granting motion to dismiss indictment where government had used defendant’s attorney in
informant-like role to investigate defendant’s possible criminal activity; as government agent,
attorney’s conduct was attributable to the government); United States v. Gardner, 658 F. Supp.
1573, 1574, (W.D. Pa. 1987) (dismissing indictment because government informant’s
“outrageous conduct” in manipulating criminal defendant into acquiring cocaine for the informant
violated defendant’s due process rights and barred the government from seeking a conviction;
citing Sherman in finding that the informant was an agent of the government, and citing United
States v. Twigg, 588 F.2d 373 (3d Cir. 1978), finding that “the government initiated and was
actively involved in the criminal enterprise itself”); United States v. Batres-Santolino, 521 F.
Supp. 744, 751 n.4 (N.D. Ca. 1981) (dismissing indictment based on government informant’s
outrageous conduct; noting that government “wisely” did not argue that informant’s conduct
could not be attributed to government); cf. United States v. Merlino, 2000 WL 294880, at *2 (D.
Mass. Mar. 10, 2000) (recognizing that government’s outrageous conduct in using informant to
investigate criminal activity can violate a defendants due process rights and bar the government
from seeking a conviction) (Stearns, J.); United States v. Ayyub, 998 F. Supp. 81, 83-84 (D.
Mass. 1998) (same).

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                                (b)     Governmental Participation in Private Conduct

        With that backdrop, I turn to the question of when the conduct of a private citizen - - who

may or may not be and informant - - is “government action” for purposes of holding government

officials and the private citizen himself liable for the deprivation of constitutional rights. The

notion that the action of a private party can be government action for purposes of determining

whether a constitutional violation has occurred was widely discussed in cases arising from the

Civil Rights Movement of the 1960's and 1970's. In those cases, claimants alleged that the

government’s imprimatur on the discriminatory acts of private citizens violated their rights under

the Equal Protection Clause of the Fourteenth Amendment. U.S. Const. amend. XIV.26 In

Burton v. Wilmington Parking Authority, 365 U.S. 715 (1961), one of the first of these cases, the

Court held that the plaintiff had sufficiently alleged that a municipal agency and a privately-owned

restaurant located on property owned and managed by the agency violated the equal protection

rights of a black restaurant customer who was refused service at the restaurant on the basis of his

race. Explaining that “the concept of state responsibility [is] interpreted as necessarily following

upon ‘state participation through any arrangement, management, funds or property,’” id. at 721

(quoting Cooper v. Aaron, 358 U.S. 1, 4 (1958)), the Court held that, because of the state’s

failure to prohibit its lessee from discriminating against patrons on the basis of race, the state had

violated the equal protection rights of the customer who was refused service:

        By its inaction, ... the State [ ] has not only made itself a party to the refusal of
        service, but has elected to place its power, property and prestige behind the


        26
          “The standards used for determining the existence of federal government action under
the Fifth Amendment are identical to those used for finding state action under the Fourteenth
Amendment.” Gerena v. Puerto Rico Legal Servs., Inc., 697 F.2d 447, 449 (1st Cir. 1983).

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       admitted discrimination. The State has so far insinuated itself into a position of
       interdependence with [the private business] that it must be recognized as a joint
       participant in the challenged activity, which, on that account, cannot be considered
       to have been so “purely private” as to fall without the scope of the Fourteenth
       Amendment.

365 U.S. at 725.27 The Court warned, however, that “to fashion and apply a precise formula for

recognition of state responsibility under the Equal Protection Clause is an impossible task.... Only

by sifting facts and weighing circumstances can the nonobvious involvement of the State in

private conduct be attributed its true significance.” Id. at 722 (internal quotation marks

omitted).28

       27
          The obvious corollary to the Burton rule is that private actors may also be held liable for
constitutional deprivations when the government is sufficiently involved in the conduct in
question. Courts considering whether a government actor violated the Constitution through
conduct partly attributable to a private party have relied on cases addressing this corollary, and
vice versa, and I follow the same path in this memorandum and order. E.g., compare Blum v.
Yaretsky, 457 U.S. 991 (1982) (explaining that the state can be held liable for constitutional
wrongs resulting from a private decision) with Lebron v. Nat’l R.R. Passenger Corp., 513 U.S.
374, 378 (1995) (citing Blum in analyzing whether Amtrak violated artist’s rights under the First
Amendment by rejecting the artist’s lease of billboard space); compare Adickes v. S.H. Kress &
Co., 398 U.S. 144 (1970) (holding that private party could be held liable for an alleged violation
of constitutional rights based on the private entity’s alleged conspiracy with local police) with
Fries v. Barnes, 618 F.2d 988, 990 (2d Cir. 1980) (citing Adickes in holding that the plaintiff had
adequately alleged a § 1983 claim against police officers and private physicians for violating his
rights under the Fourth Amendment by claiming that the officers and the physicians conspired to
gather evidence from the plaintiff’s person and effects while he was unconscious and undergoing
treatment for a gunshot wound); see also Lugar v. Edmondson Oil Co., Inc., 457 U.S. 922, 939
(1982) (citing Burton as providing a basis for analyzing whether private entity may be liable for
constitutional violations); McQueen v. Druker, 438 F.2d 781, 784 (1st Cir. 1971) (citing Burton
as providing a basis for analyzing whether private entity could be liable for constitutional
violations).
       28
         See also id. at 725 (“Because readily applicable formulae may not be fashioned, the
conclusions drawn from the facts and circumstances of this record are by no means declared as
universal truths on the basis of which every state leasing agreement is to be tested.”).

        Subsequent Supreme Court decisions reiterated the two principles of Burton: that private
action that has a sufficient nexus to state authority can be “state action” for purposes of holding

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       Courts have addressed several kinds of government involvement in private conduct in

determining whether that private conduct may be treated as government action in the context of a

claimed constitutional violation. Because the calculus involves “sifting facts and weighing

circumstances,” the descriptions and tests for liability of government actors for constitutional

violations, based on government involvement in private conduct, have multiplied29 since Burton

was issued. There is no rubric that is the single expression of the circumstances in which




the public and private parties liable for violating equal protection and other constitutional rights,
and that there is no universal test for determining whether that nexus exists. In Reitman v.
Mulkey, 387 U.S. 369 (1967), the Court upheld a ruling by the highest court of California that a
state law allowing persons to decline to sell real estate interests to whomever they chose violated
the Equal Protection Clause because the law “invalidly involved the State in racial discriminations
in the housing market.” Id. at 375. The Court reiterated both the “necessity for a court to assess
the potential impact of official action in determining whether the State has significantly involved
itself with invidious discriminations,” id. at 380, and, citing Burton, that “formulating an infallible
test” for making such a determination was an “impossible task,” id. at 378; see also, e.g., Evans v.
Newton, 382 U.S. 296, 299 (1966) (concluding that “[c]onduct that is formally ‘private’ may
become so entwined with governmental policies or so impregnated with a governmental character
as to become subject to the constitutional limitations placed upon state action” and
acknowledging that “[w]hat is ‘private’ action and what is ‘state’ action is not always easy to
determine”).
       29
          Burton used the expressions “joint participant” and “position of interdependence” to
describe the requisite level of government involvement. In Reitman, the Court employed the term
“significantly involved,” 387 U.S. at 380, but later characterized Reitman as being “based on a
theory that ... the State was abetting a refusal to rent apartments on racial grounds,” Palmer v.
Thompson, 403 U.S. 217, 224 (1971) (emphasis added). The Evans court spoke of private
conduct “entwined with governmental policies.” 382 U.S. at 299. In Blum, the Court stated that
the government could be responsible for a private decision “only when it has exercised coercive
power or had provided such significant encouragement, either overt or covert, that the choice
must in law be deemed to be that of the State.” 457 U.S. at 1004; see also Edmondson Oil Co.,
457 U.S. at 939, (pointing out that the Court has articulated the “public function,” “state
compulsion,” “nexus,” and “joint action” tests for determining whether private conduct was under
“color of law” and observing that the tests might be “different in operation or simply different
ways of characterizing the necessarily fact-bound inquiry”).

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government action will be found in the conduct of private actors.30 Still, the cases have a

common theme: when a government actor participates in the conduct of private actors that would

violate the constitution if the conduct were solely that of the government actor, the conduct is

government action for purposes of analyzing whether a constitutional violation has occurred. I

need only discuss a sampling of cases that may be fairly analogized to the cases presently before

me to make the point.

       In the well-known case, Adickes v. S.H. Kress & Co., 398 U.S. 144 (1970), the Court held

that a store employee’s act of refusing service to the plaintiff, allegedly because the plaintiff was a

white woman in the company of black persons, might have been under “color of law” if the

employer had conspired or “somehow reached an understanding” with local police to refuse the

plaintiff service on that ground: “The involvement of a state official in such a conspiracy plainly

provides the state action essential to show a direct violation of [the plaintiff]’s Fourteenth

Amendment equal protection rights, whether or not the actions of the police were officially

authorized, or lawful.” Id. at 152. While the trial court had held that the plaintiff had “failed to

allege any facts from which a conspiracy might be inferred,” id. at 148, the Court held that the

undisputed facts did not foreclose the proposition that if a police officer were present at the store,

“it would be open to a jury ... to infer from the circumstances that the policeman and a Kress

employee had a ‘meeting of the minds’ and thus reached an understanding that petitioner should

be refused service,” id. at 158.


       30
        Gerena, 697 F.2d at 449 n.2 (“We note that the various formulae established in the many
Supreme Court opinions examining the existence of state action are not tests in the traditional
sense. More precisely, they are different methods of analyzing and appraising the facts and
circumstances of a particular case.”).

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       In Fries v. Barnes, 618 F.2d 988 (2d Cir. 1980), the Second Circuit used a similar mode

of analysis to hold that a plaintiff, who alleged that police officers and private physicians had acted

“in concert, cooperation and conspiracy with each other” to conduct a warrantless search and

seizure, had stated a valid § 1983 claim against the officer and the physicians. Id. at 990. The

district court had dismissed the plaintiff’s claims sua sponte as frivolous, concluding that there

was no indication that the physicians had acted under color of law when they turned over to

authorities items the doctors obtained while treating the plaintiff for a gunshot wound. Reversing

the district court’s order, the Second Circuit cited Adickes and explained that a “police officer or

government agent may not escape responsibility by claiming that the violation of the plaintiff’s

rights was committed by the private person involved in such a collaborative undertaking.” Id. at

990. Because the plaintiff had alleged that the police had “aided and abetted the other

Defendants, and ... directed the concerted action that Plaintiff contends deprived him of his

constitutional rights,” the allegations met “the test laid down by Adickes, and are inconsistent with

the district court’s mistaken impression that there was no allegation of a conspiracy between the

police and doctor.” Id. at 991 (alteration in original).

       Over a decade after the Fries decision, the Second Circuit, in Dwares v. City of New York,

985 F.2d 94 (2d Cir. 1993) held that police officers who allegedly aided and abetted a private

actor’s assault on the plaintiff could be liable to the victim in a § 1983 claim. The plaintiff alleged

that, prior to a rally during which the assault occurred, the police officers told certain “skinheads”

that unless the skinheads’ conduct at the rally got completely out of control, the police would

neither interfere with their assaults nor arrest the perpetrators. During the rally, the skinheads

attacked the plaintiff; police officers witnessed the ten-minute attack, but did not make an attempt

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to intervene. Citing Fries and Adickes, the Second Circuit vacated the district court’s dismissal of

the claim, explaining that “a state actor may be subject to liability for an action physically

undertaken by private actors in violation of the plaintiff’s liberty or property rights if the state

actor directed or aided and abetted the violation.” Id. at 98. Noting that, by alleging that the

officers had agreed not to interfere with skinheads’ conduct, the plaintiff had alleged that “the

officers in effect aided and abetted” the assault.” The court concluded that “[s]uch a prearranged

official sanction of privately inflicted injury would surely have violated the victim’s rights under

the Due Process Clause.” Id. at 99.31

        The Second Circuit’s analysis in Hemphill v. Schott, 141 F.3d 412 (2d Cir. 1998),

discussed supra, is similar to that in Dwares. Relying on allegations that the officers “conspired

with another” by giving a gun to the store owner who then shot the plaintiff, the Second Circuit

concluded that the plaintiff in Hemphill had sufficiently “ple[aded] a violation of his Fourteenth

Amendment right not to be subjected to the excessive force of a third party who is aided and

abetted by a state actor.” 141 F.3d at 419.32 One of the factors the court pointed to in arriving at

        31
          The court also found that the plaintiff had alleged a violation of his due process rights
under a state-created danger theory. Id. at 99. Reasoning that “it requires no stretch to infer that
[the officers’] prior assurances would have increased the likelihood that the ‘skinheads’ would
assault the demonstrators,” the court concluded that the complaint “asserted that the defendant
officers indeed had made the demonstrators more vulnerable to assaults.” Id. The court’s
analyses under the state-created danger and the “aiding and abetting” theories were nonetheless
distinct. Id. at 99; see also Hemphill, 141 F.3d at 419 (“We held in Dwares, that where the state
actors actually contributed to the vulnerability of the plaintiff, or where the state actors aided and
abetted a private party in the deprivation of a plaintiff’s civil rights, a violation of the Due Process
Clause does occur.” (emphasis added)).
        32
         In Cummings, the First Circuit cited Hemphill as an example of police misconduct of
“constitutional dimension” that could give rise to a claim of violation of due process rights. 271
F.3d at 346. The court characterized Hemphill as a case of “police officers aiding a third-party in
shooting the plaintiff.” Id.

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this conclusion was the fact that knowing that, the store owner wanted to “get” the plaintiff, the

officers provided the store owner with a gun and allowed him to accompany the officers to the

scene of the arrest. Id. Because a jury could infer from these circumstances that the officers

“acted for the very purpose of causing [the plaintiff] harm,” the factual dispute over the officers’

intentions foreclosed summary judgment. Id. at 420.




         See also Burton v. Stergue, 1998 WL 893151 (D. Conn. Sept. 29, 1998). In that case, the
plaintiff brought a § 1983 claim against private citizens as well as state and local officials, alleging,
inter alia, that the defendants conspired to and did violate her constitutional right to be free from
bodily punishment and her right to attend a public meeting. When the plaintiff (an attorney)
attempted to attend a municipal conservation commission meeting on the property of a landowner
against whom a client of the plaintiff had filed suit, the landowner physically assaulted the
plaintiff. The plaintiff claimed that some commission members prevented others from coming to
the plaintiff’s assistance and let the assault continue. On a motion to dismiss, some of the
defendants argued that the plaintiff’s § 1983 claim was “fatally flawed” because it was “based
upon an alleged assault by two private individuals without governmental involvement” and the
government’s failure to protect citizens from private violence did not violate the plaintiff’s due
process rights. Id. at *5. The court, however, agreed with the plaintiff that, as to the
commissioner’s act of restraining those attempting to assist the plaintiff, the plaintiff had alleged a
conspiracy to violate her constitutional rights rather than a failure to protect her from private
violence; preventing others from helping the plaintiff was an overt act in furtherance of that
conspiracy. The court concluded that the commissioner “‘aided and abetted’ action ‘physically
undertaken by private actors in violation of the plaintiff’s [constitutional] rights.’” Id. at *7
(quoting Dwares, 985 F.2d at 98 (alteration in original)); cf. Ghandi v. Police Dept. of the City of
Detroit, 747 F.2d 338, 352 (6th Cir. 1984) (FBI agents who worked closely with informant not
entitled to summary judgment on Bivens claim that FBI agents had instructed informant to violate
plaintiffs’ First Amendment rights; characterizing the FBI agents as the “supervisors” of the
informant, the court explained that “[s]upervisory personnel are subject to liability where evidence
establishes that they authorized [or] approved ... unconstitutional conduct of the offending
officers” (quoting Hays v. Jefferson County, 668 F.2d 869, 874 (4th Cir. 1982))) (second and third
alternations in original), judgment for defendants after trial aff’d, 823 F.2d 959 (6th Cir. 1987);
Blake v. Doyle, 1999 WL 1044211 (N.D. Ill. Nov. 9, 1999) (where the plaintiff alleged “there
were many other state and local employees aiding and abetting” burglary of plaintiff’s residence
by non-state actor, the plaintiff’s allegations arguably satisfied the state action requirement of a
§ 1983 claim; the plaintiff’s claim nonetheless failed because she had not alleged facts such as who
the state and local employees were, for what agencies they worked, and the nature of the
challenged conduct).

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       In the four cases discussed above, the courts used a variety of expressions to describe the

relationship between the private and public actors in finding government action where a private

party delivered the final blow. The store clerk and the policeman in Adickes might have “reached

an understanding” or had a “meeting of the minds” to refuse service to the plaintiff. 398 U.S. at

152, 158. The jury could infer this “understanding” simply from the police officer’s presence in

the store. Id. at 158. In Fries, the plaintiff’s claim of a conspiracy was supported by allegations

that the police officers and the physicians were “involved” in a “collaborative undertaking” and

that the officers “aided and abetted” the physicians and “directed” the objectionable conduct. 618

F.2d at 990. In Dwares, the court characterized the police officers’ promise that they would not

arrest or even interfere with the skinheads as a “prearranged official sanction of privately inflicted

injury.” 985 F.2d at 99. The officers “aided and abetted” the assault with their promise of

inaction. Id. In Hemphill, a conspiracy for the “very purpose of causing” the harm inflicted on

the plaintiff could be inferred from the allegations that the officers armed a vengeful citizen and

delivered him to a volatile arrest situation. 141 F.3d at 420. The officers’ actions “aided and

abetted” the assault. Id. at 419.33 In each one of these cases, the government’s participation in

the conduct complained of was so far removed from the realm of “purely private” actions that it

was deemed to have been government action.

       The relationship between Connolly, on the one hand and, Bulger and Flemmi, on the

other, with respect to the murder of McIntyre, may be characterized by any of the nomenclature



       33
         Cf. Kadar Corp. v. Milbury, 549 F.2d 230, 233-34 (1st Cir. 1977) (reversing dismissal
of claim under § 1983 or § 1985(3) that defendant conspired with municipal officials to adopt
discriminatory rules and regulations that prevented the plaintiff from developing residential
housing; claim of conspiracy survived dismissal at the pleading stage where plaintiff alleged that
the defendant “aided and abetted” certain abuses).

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used in Adickes, Fries, Dwares, and Hemphill. As I have noted above, the allegations and the

reasonable inferences from them are that Connolly not only knew the dire consequences of

revealing to Bulger and Flemmi the identity of McIntyre as an informant, but intended that Bulger

and Flemmi would kill McIntyre following the disclosure of his identity. The plaintiffs allege that

Connolly had an incentive to quiet McIntyre. Because the hallmark of a successful FBI agent was

handling a “top echelon” informant, it was necessary to protect Bulger and Flemmi from

prosecution in order for Connolly to continue benefitting from the prestige of that relationship.

Moreover, Bulger and Flemmi were a repository of information not only about LCN, but also

about the malefactions of the FBI generally, and of Connolly in particular. Criminal prosecution

of Bulger and Flemmi might expose the corrupt relationship Connolly maintained with Bulger and

Flemmi. Thus, Connolly, Bulger, and Flemmi might be said to have “reached an understanding;”

that they had a “meeting of the minds;” that they engaged in a “collaborative undertaking;” or that

they conspired to kill the McIntyre. The disclosure by Connolly of the informant status of

McIntyre may have been a “prearranged official sanction of privately inflicted injury.” It can also

be said that, by disclosing McIntyre’s identity as an informant and communicating in word or in

deed that the FBI would deflect efforts by other law enforcement agencies to investigate and

prosecute Bulger and Flemmi for murdering McIntyre, Connolly “aided and abetted” the

homicide. Regardless of the descriptor used, the plaintiffs have alleged that Connolly, in his role

as a government official, participated in the murder of McIntyre, and the constitutionality of his

conduct and that of all of the agents must be analyzed on the premise that the murder of McIntyre

was government action.




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        3.      Violation by Connolly of the Clearly Established Substantive Due Process
                Rights of McIntyre

        The Fifth Amendment explicitly states that the government may not deprive a citizen of

life without due process of law. Indeed, “[o]ne of the less controversial aspects of the due

process clause is its implicit prohibition against a public officer’s intentionally killing a person, or

seriously impairing the person’s health, without any justification.” K.H. ex rel Murphy v.

Morgan, 914 F.2d 846, 848 (7th Cir. 1990); see also Souza, 53 F.3d at 426 (“There is a

constitutional right not to be deprived of life without due process of law. Thus, a state actor

cannot murder a citizen.”).34 The cases discussed in the preceding section of this memorandum

and order establish that this right may be implicated even where the murder is physically carried

out by a private actor.

        The defense of qualified immunity applies unless the law is clearly established either by

materially similar precedent or by general legal principles that apply with obvious clarity to the

facts of the case. Hope v. Pelzer, 536 U.S. 730, 741 (2002). Under the facts as alleged by the

plaintiffs, it cannot be doubted that Connolly violated the substantive due process rights of

McIntyre. In fact, because Connolly allegedly participated in and/or aided and abetted the murder

of McIntyre, the right in question might be characterized as the right not to be murdered by the

government. As so characterized, the right is clearly established by the words of the Fifth

Amendment itself. See, e.g., Heinrich, 62 F. Supp. 2d at 319 (holding that the plaintiffs’

decedents had a clearly established right in 1946 to be free from being injected with plutonium by

the government without her consent “[e]ven absent the abundant case law that has developed on


        34
          As I explained in Part III.D.2.b, supra, the government’s interest in prosecuting the LCN
did not justify taking the life of the decedents.

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this point since the passage of the Bill of Rights”). But, even if the right is characterized as a right

not to be murdered by a private actor where a government actor aided, abetted, collaborated or

conspired with the private actor to accomplish the murder, the right was clearly established before

McIntyre was murdered. The fact that there is no case proclaiming the existence of the right

under factual circumstances like those presented by the case before me does not preclude a

determination that the right was clearly established. The Supreme Court has rejected the notion

that the determination of whether a constitutional right is clearly established requires that a court

find that the facts before it are fundamentally similar to a previous case declaring the right. The

Court instead has explained that

        general statements of the law are not inherently incapable of giving fair and clear
        warning, and in other instances a general constitutional rule already identified in
        the decisional law may apply with obvious clarity to the specific conduct in
        question, even though the very action in question has not previously been held
        unlawful.

Hope, 536 U.S. at 741 (quoting Lanier, 520 U.S. at 270-71) (internal citation marks omitted).

Thus, “officials can still be on notice that their conduct violates established law even in novel

factual circumstances.” Id. Indeed, “the easiest cases don’t even arise.” Lanier, 520 U.S. at 271

(quoting United States v. Lanier, 73 F.3d 1380, 1410 (7th Cir. 1996) (Daughtrey, J., dissenting)).

For example, “[t]here has never been ... a section 1983 case accusing welfare officials of selling

foster children into slavery; it does not follow that if such a case arose, the officials would be

immune from damages [or criminal] liability.” Id. (quoting Lanier, 73 F.3d at 1410 (Daughtrey,

J., dissenting))35; see also Anderson, 483 U.S. at 640 (explaining that it is not required that the


        35
         The quotations the Court cited from Judge Daughtrey’s dissent in the Seventh Circuit’s
Lanier opinion originated in K.H. ex. rel. Murphy v. Morgan, 914 F.2d 846, 850-52 (7th Cir.
1990), a case in which the Seventh Circuit, in affirming the district court’s denial of motion to

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“very action in question has previously been held unlawful, but it is to say that in the light of pre-

existing law the unlawfulness must be apparent”).36

       Cases in which “general statements of the law” gave “fair and clear ruling” applied “with

obvious clarity” to the conduct in question include Drummond v. City of Anaheim, 343 F.3d



dismiss based on qualified immunity, held that a child’s due process right “not to be placed with
and shuffled among foster parents known to be incompetent and indeed dangerous” was clearly
established. The court relied on a Supreme Court decision that the Constitution requires the state
to take steps to prevent children in state institutions from deteriorating physically or
psychologically, and on a circuit decision that a state cannot avoid certain responsibilities merely
by delegating custodial responsibility to an irresponsible private person, in finding that the due
process right of the child was “clearly established.”
       36
          See also Drummond v. City of Anaheim, 343 F.3d 1052, 1061 (9th Cir. 2003)
(“[N]otwithstanding the absence of direct precedent, the law may be, as it was here, clearly
established. Otherwise, officers would escape responsibility for the most egregious forms of
conduct simply because there was no case on all fours prohibiting that particular manifestation of
unconstitutional conduct.” (quoting Deorle v. Rutherford, 272 F.3d 1272, 1285-86 (9th Cir.
2001))); Clem v. Corbeau, 284 F.3d 543, 553 (4th Cir. 2002) (“When ‘the defendants’ conduct is
so patently violative of the constitutional right that reasonable officials would know without
guidance from the courts that the action was unconstitutional, closely analogous pre-existing case
law is not required to show that the law is clearly established.’ To hold otherwise would allow an
officer who understood the unlawfulness of his actions to escape liability simply because the
instant case could be distinguished on some immaterial fact, or worse, because the illegality of the
action was so clear that it had seldom been litigated.” (quoting Mendoza v. Block, 27 F.3d 1357,
1361 (9th Cir. 1994)) (additional citation omitted)); id. at 554 (“The lack of more cases with
similar facts is due to the clarity, rather than the ambiguity, of the [case law precedent].”);
Johnson v. Newburgh Enlarged Sch. Dist., 239 F.3d 246, 253 (2d Cir. 2001) (“To the extent that
no case applying this right [to be free from excessive force] in the educational setting has
previously arisen in our circuit ... [is] a strong indication that the right to be free from excessive
force is so well-recognized and widely observed by educators in public schools as to have eluded
the necessity of judicial pronouncement.”); Eberhardt v. O’Malley, 17 F.3d 1023, 1028 (7th Cir.
1994) (“This is such an elementary violation of the First Amendment that the absence of a
reported case with similar facts demonstrates nothing more than widespread compliance with
well-recognized constitutional principles.”); McDonald v. Haskins, 966 F.2d at 295 (7th Cir.
1992) (“In sum, that no precisely analogous case exists does not defeat [plaintiff]’s claim. It
would create perverse incentives indeed if a qualified immunity defense could succeed against
those types of claims that have not previously arisen because the behavior alleged is so egregious
that no like case is on the books. As we recognized in K.H. ex rel. Murphy ... the easiest cases
don't even arise.” (internal quotation marks omitted)).

                                                  55
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1052, 1061-62 (9th Cir. 2003) (holding that officer’s alleged conduct in subduing mentally ill

citizen violated “clearly established” law because the court “need[ed] no federal case directly on

point to establish that kneeling on the back and neck of a compliant detainee, and pressing the

weight of two officers’ bodies on him even after he complained that he was choking and in need

of air violates clearly established law, and that reasonable officers would have been aware of the

same”); and Polk v. District of Columbia, 121 F. Supp. 2d 56, 70-71 (D.D.C. 2000) (holding

that, where police officer allegedly directed ride-along civilian to detain someone for whom there

was no probable cause, the absence of any reported cases addressing that precise conduct did not

foreclose a determination that the right to be free from such detentions was clearly established;

there was no “open question” whether the Constitution outlawed the officer’s conduct and “there

can be little doubt that the Constitution forbids police officers to share their authority to conduct

searches and seizures with unauthorized civilians”).37


       37
           See also Clem, 284 F.3d at 553-54 (holding that, where Supreme Court had held that
deadly force cannot be used by a police officer to seize an unarmed nondangerous suspect,
officers who, in response to a call from a woman requesting assistance with her mentally ill
husband who had not taken his medications, subjected the husband to pepper spray and shot him
three times, violated the husband’s clearly established Fourth Amendment rights); Skrtich v.
Thornton, 280 F.3d 1295, 1304 (11th Cir. 2002) (holding that, where Supreme Court cases held
that prisoners cannot be subjected to gratuitous disproportionate force that has no object but to
inflict pain, guards who severely beat a prisoner during a cell extraction after they had rendered
the prisoner completely inert by an electric shock, violated the clearly established Eighth
Amendment rights of the prisoner; the absence of cases concerning gratuitous force in the context
of a cell extraction did not preclude a determination that the right in question was clearly
established); Newburgh Enlarged Sch. Dist., 239 F.3d at 253; (holding that absence of
precedential case law expressly holding that students have a substantive due process right not to
be struck by a teacher did not preclude a determination that gym teacher who grabbed student by
the throat, lifted him off the ground by his neck, dragged him across the gym floor to the
bleachers, choked him and slammed the back of his head against the bleachers four times, rammed
his forehead into a metal fuse box and punched him in the face, violated the clearly established
substantive due process rights of the student); McBridge v. Village of Michiana, 100 F.3d 457,
461 (6th Cir. 1996) (holding that “[a]lthough no Supreme Court or Sixth Circuit decisions had, at

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       Based on these principles, I hold that in 1984, the substantive due process right to not be

murdered by a private actor where a government actor aided, abetted, collaborated or conspired

with the private actor to accomplish the murder was clearly established. Although in 1984 the

courts had not addressed factual circumstances “fundamentally similar” to those alleged by the

plaintiffs in this case, “in the light of pre-existing law, the unlawfulness” of Connolly’s conduct

was “apparent.” Anderson, 483 U.S. at 640. The text of the Fifth Amendment provided the

general prohibition against the government’s depriving citizens of life. It was also clearly

established in 1984 that constitutional violations can be effectuated by private actors acting in

concert with government actors. See Sherman v. United States, 356 U.S. at 373 (1958) (“[The]

Government cannot disown [the informant] and insist it is not responsible for his actions.”);

Burton, 365 U.S. at 725 (1961) (“The State has so far insinuated itself into a position of

interdependence with [the private business] that it must be recognized as a joint participant in the

challenged activity, which, on that account, cannot be considered to have been so ‘purely private’

as to fall without the scope of the Fourteenth Amendment.”); Hoffa v. United States, 385 U.S. at

311 (1966) (an informant is not “to the slightest degree more free from all relevant constitutional

restrictions than is any other government agent”); Adickes, 398 U.S. at 151 (1970) (private

actor’s “understanding” with police officer to refuse service to a customer was state action



that time, applied time-honored First Amendment principles to a situation specifically involving
governmental retaliation against a news reporter,” town officials who had allegedly retaliated
against reporter after she published reports criticizing the local government violated the clearly
established First Amendment rights of the reporter); McDonald, 966 F.2d at 295 (holding that
police officer who held a gun to the head of a 9-year old boy and threatened to pull the trigger
violated the rights of the boy even though no closely analogous case existed; explaining that “[i]t
should have been obvious ... that his threat of deadly force ... was objectively unreasonable given
the alleged absence of any danger”).

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subject to constitutional scrutiny), discussed supra. I “need no federal case directly on point,”

Drummond, 343 F.3d at 1061, to conclude that it was clearly established in 1984 that an FBI

agent violates the substantive due process right of an individual to be free from government-

sponsored, incited, or provoked murder if the individual is murdered as a result of the disclosure

by the agent to violent criminals that the individual is cooperating with the government in

investigations of the unlawful activities of the criminals, and the agent knows or should know that

the criminals will kill the individual, reasonably believing that the agent will protect them from

prosecution for that murder.

       Although none of the parties have addressed the issue, I also hold that, based on the

plaintiff’s allegations, it was reasonable for Connolly to have been aware that his conduct violated

McIntyre’s clearly established right to be free from government-involved murder. There are no

allegations supporting a conclusion that Connolly made a reasonable mistake as to what the law

required, see Saucier, 533 U.S. at 205, that he was reasonably ignorant of crucial facts, see Suboh

v. District Attorney’s Office of Suffolk Dist., 298 F.3d 81, 95 (1st Cir. 2002), or that any other

circumstance existed that would have made it unreasonable for Connolly to appreciate that his

conduct was unconstitutional. Moreover, while regulations do not establish constitutional rights,

they may provide fair warning that conduct violates the Constitution. Groh v. Ramirez, 540 U.S.

551, 124 S.Ct. 1284, 1293-94 & n.7 (2004) (explaining that federal agency directive that its

agents had to be sure a search warrant was sufficient on its face before executing it

“underscore[d] that [an agent] should have known that he should not execute a patently defective

warrant”); Hope, 536 U.S. at 744 (state department of corrections regulations concerning

permitted of uses of hitching post provided fair warning that prison guards’ conduct was


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unconstitutional, when the guards, in violation of the regulations, handcuffed an inmate to the

hitching post for seven hours without water or bathroom breaks ). Here, the Guidelines required

FBI agents to “ensure that individual rights are not infringed and that the government itself does

not become a violator of the law.” Compl. ¶ 110.

       I therefore hold that Connolly is not entitled to qualified immunity on count X of the

complaint on this present motion for judgment on the pleadings under Rule 12(c), and I DENY

his motion as to count X.

       4.      Violation by Other Agents of the Clearly Established Substantive Due
               Process Rights of McIntyre

       Having found that Connolly violated the clearly established due process right of McIntyre

not to be murdered by the government or with government participation, I turn to the question of

whether the alleged misconduct of Fitzpatrick, Greenleaf, Kennedy, Morris, or Ring also violated

that right. For purposes of this discussion, I will treat Fitzpatrick, Greenleaf, Kennedy, Morris,

and Ring as “supervisors.” Although the pleadings only identify Greenleaf, Fitzpatrick, and Ring

as formal supervisors at the time of the murder of McIntyre, the term “supervisor” may be

“defined loosely to encompass a wide range of officials who are themselves removed from the

perpetration of the rights-violating behavior.” Camilo-Robles, 151 F.3d at 6-7.38


       38
           Although the plaintiffs allege that all of the agents are liable for the violation of
McIntyre’s substantive due process rights, the plaintiffs explicitly seek to hold Ring and Greenleaf
liable for the murder of McIntyre under a theory of supervisory liability. See Compl. Count XA.
At the time of the murder of McIntyre, Ring and Greenleaf were indeed the formal supervisors of
Connolly. As chief of the OCS, Ring was the direct supervisor of Connolly. Greenleaf, as SAC
of the FBI Boston Office, had supervisory authority over all the agents in the office. However, in
light of the loose definition of the term “supervisor” and of my duty to determine whether the
plaintiffs’ complaint “sets forth facts sufficient to justify recovery on any cognizable theory,”
Soto-Negron v. Taber Partners I, 339 F.3d 35, 38 (1st Cir. 2003) (emphasis added) (quoting
Martin v. Applied Cellular Tech., Inc., 284 F.3d 1, 6 (1st Cir. 2002)), I do not limit the

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       Supervisors are not vicariously liable for the constitutional violations perpetrated by

“subordinates.” Carmona v. Toledo, 215 F.3d 124, 132 (1st Cir. 2000). Nonetheless,

supervisors may violate the constitutional rights of a third party by “formulat[ing] a policy or

engag[ing] in a practice that leads to a civil rights violation [of the third party] committed by

another.” Camilo Robles, 151 F.3d at 7. To be actionable as a constitutional violation, the

offending conduct of the supervisor must manifest, at a minimum, a deliberate indifference to the

constitutional rights of the third party. Id. To plead deliberate indifference, a plaintiff must allege

“(1) a grave risk of harm; (2) the defendant’s actual or constructive knowledge of that risk, and

(3) his failure to take easily available measures to address the risk.” Id. A supervisor cannot be

faulted for having failed to “take easily available measures to address the risk” of harm posed by

the subordinate unless the supervisor actually “had the power and authority to alleviate’” the

underlying constitutional violation. Id. (quoting Maldonado-Denis v. Castillo-Rodriguez, 23 F.3d

576, 582 (1st Cir. 1994)). In other words, “the plaintiff must ‘affirmatively connect the

supervisor’s conduct to the subordinate’s violative act or omission.’” Id. (quoting Maldonado-

Denis, 23 F.3d at 582). The affirmative connection includes a “knowing sanction” of the rights-

violating conduct, but may also encompass “tacit approval of, acquiescence in, or purposeful

disregard of” such conduct. Id.39

       A supervisor’s deliberate indifference to the rights of third parties may occur in a variety

of circumstances. In Camilo-Robles v. Zapata, 175 F.3d 41, 44 (1st Cir. 1999), for example, the


application of supervisory liability to Ring and Greenleaf.
       39
         “[S]upervisory liability does not require a showing that the supervisor had actual
knowledge of the offending behavior; he ‘may be liable for the foreseeable consequences of such
conduct if he would have known of it but for his deliberate indifference or willful blindness.’”
Camilo-Robles, 151 F.3d at 7 (quoting Maldonado-Denis, 23 F.3d at 582).

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First Circuit explained that “liability [for violation of constitutional rights] attaches if a responsible

official supervises, trains, or hires a subordinate with deliberate indifference toward the possibility

that deficient performance of the task eventually may contribute to a civil rights deprivation.”

Other courts have found conduct on the part of supervisory law enforcement officials to be

deliberately indifferent to the constitutional rights of citizens where a supervisor permitted a

reinstated officer to carry a weapon without reviewing the officer’s record,40 failed to exercise his

discretion to keep a violent police officer assigned to a desk job to ensure that the violent officer

would not come into contact with the public,41 formulated rules likely to result in a subordinate’s

unjustifiably shooting a citizen,42 and knowingly failed to remedy subordinates’ pattern of

dangerous or unconstitutional conduct.43


        40
           Diaz v. Martinez, 112 F.3d 1 (1st Cir. 1997) (affirming denial of police supervisor’s
motion for summary judgment based on qualified immunity where supervisor permitted reinstated
subordinate officer to carry a firearm without restrictions and subordinate subsequently shot
plaintiff in a small scuffle; had the supervisor fulfilled his duty to review the subordinate’s
background before permitting him to carry a gun, supervisor would have discovered that four
years earlier the subordinate had been involuntarily committed after capturing the police station
and gun point and holding several fellow police officers hostage).
        41
             Camilo-Robles, 151 F.3d at 13-14.
        42
           Harris v. Roderick, 126 F.3d 1189, 1202-04 (9th Cir. 1997) (affirming the denial of FBI
officials’ motion for dismissal based on qualified immunity where FBI sharpshooter, adhering to
the officials’ special rules of engagement requiring the sharpshooter to shoot at any male carrying
a weapon, regardless of the absence of any immediate danger, fatally shot the plaintiff’s
decedent).
        43
         See, e.g., Maldonado-Denis, 23 F.3d at 582 (“A causal link [between the conduct of the
supervisor and the unconstitutional act of the subordinate] may also be forged if there exists a
known history of widespread abuse sufficient to alert a supervisor to ongoing violations. When
the supervisor is on notice and fails to take corrective action, say, by better training or closer
oversight, liability may attach.”); Smith v. Rowe, 761 F.2d 360, 369 (7th Cir. 1985) (upholding
judgment under § 1983 claim against director of state department of corrections where
subordinates’ segregation of inmate for twenty-two months violated the inmate’s clearly

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       With the foregoing principles in mind, I turn now to the question of whether Fitzpatrick,

Greenleaf, Kennedy, Morris, and Ring were deliberately indifferent to the substantive due process

right of McIntyre not to be murdered by the government. As explained above, the allegations in

this case support the conclusion that the murder of McIntyre was government action because

Connolly participated in the murder by disclosing McIntyre’s informant status to Bulger and

Flemmi.

       Kennedy. Despite the enumeration of wrongs that Kennedy and the other defendants

allegedly committed, see, e.g., Compl. ¶ 427, the plaintiffs have not alleged conduct by Kennedy

that would support a conclusion that he was deliberately indifferent to the substantive due process

rights of McIntyre. The allegations concerning Kennedy’s conduct, prior to McIntyre’s death,

essentially amount to the following. Kennedy knew that Bulger and Flemmi were informants for

the FBI, and that Connolly was their handler. As early as 1983, Kennedy had some knowledge of

the criminal activities of Bulger and Flemmi. In violation of the Guidelines, Kennedy did not

share this information with the DEA or attorneys prosecuting cases involving crimes committed

by Bulger and Flemmi. Kennedy also knew that McIntyre was cooperating with law enforcement

agencies investigating Bulger’s role in illegal arms shipments to the IRA. In October 1984,

Kennedy interviewed McIntyre and discovered that McIntyre had information incriminating



established constitutional rights, and the director “knew of the actions of his subordinates which
resulted in a constitutional violation” and “failed to take any preventive action”); see also Jensen
v. City of Oxnard, 145 F.3d 1078, 1086-87 (9th Cir. 1998) (“[I]f police officials knew [the
subordinate police officer] was likely to inflict a constitutional injury or if their practices and
policies showed a ‘deliberate indifference’ to the danger such an individual posed, they should be
liable under § 1983. Because, under [the plaintiff]’s version of the shooting, [the subordinate
police officer] ‘could not have reasonably believed the use of deadly force was lawful,’ none of
the individual [supervisory] defendants are entitled to qualified immunity at this stage.”).

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Bulger and Flemmi in the Valhalla arms shipments. Kennedy reported McIntyre’s revelations to

Greenleaf.

        There are no allegations to support an inference that Kennedy knew or should have known

of the risk Connolly posed to the safety of McIntyre. To be sure, one may infer that Kennedy

knew that Bulger and Flemmi were violent criminals, and that McIntyre faced danger by agreeing

to cooperate. The danger that McIntyre assumed, however, inheres in the role of an informant.

Indeed, according to the complaint, McIntyre knew the implications of cooperating - - in fact, he

was “petrified” of Bulger and Flemmi. Compl. ¶ 247. The danger in incriminating Bulger and

Flemmi was a risk McIntyre faced regardless of whether Bulger and Flemmi were informants for

the FBI. McIntyre did not have a constitutional right to be free from this risk; so there was no

right, based on the risk alone, to which Kennedy could have been deliberately indifferent.

        Further, even assuming that Kennedy did have knowledge of Connolly’s rights-violating

conduct, the plaintiffs have not alleged that Kennedy failed to take measures easily available to

him to prevent that conduct. The complaint is devoid of any indication that Kennedy had formal

or informal authority over Connolly. The plaintiffs group Kennedy together with all of the other

agents in alleging that the agents failed properly to supervise Connolly (i.e., failed to train him in

the requirements of the Guidelines, failed to enforce the Guidelines, permitted Connolly to be the

handler of Bulger and Flemmi when it was apparent he should have been removed from that

position). I must, however, read the complaint in its entirety, and the more specific allegations

concerning Kennedy belie any allegation that his conduct amounted to a “failure” to change the




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course of Connolly’s conduct or even that he had the “power and authority,” Camilo-Robles, 151

F.3d at 7, to do so.44

        Because the plaintiffs have failed to plead deliberate indifference on the part of Kennedy,

Kennedy is entitled to the defense of qualified immunity as to the plaintiffs’ allegations that he

violated the substantive due process rights of McIntyre.

        Some additional comments words about the plaintiff’s allegations concerning the conduct

of Kennedy are in order here.45 As stated above, I premise my analysis of the liability of the

agents on the notion that Connolly’s act of revealing McIntyre’s informant status to Bulger and

Flemmi transformed the murder of McIntyre from private violence into government action subject

to the strictures of the Due Process Clause. The plaintiffs’ claims point to another theory of

government action, the viability of which I do not consider in this memorandum and order. This

theory, in substance, is that the murder of McIntyre was government action because the acts and

omission of the agents with respect to Bulger and Flemmi enabled and emboldened Bulger and

Flemmi to murder McIntyre.46 Under this theory, a determination of whether an agent violated

the substantive due process rights of McIntyre would not be limited to an analysis of his acts and


        44
          Cf. Treadway v. Gateway Chevrolet Oldsmobile Inc., 362 F.3d 971, 983 n.10 (7th Cir.
2004) (explaining that where a “general allegation might be enough to sustain a complaint under
the liberal pleading requirements of [Fed. R. Civ. P. 8], ... ‘if a plaintiff does plead particulars, and
they show he has no claim, then he is out of luck - - he has pleaded himself out of court’”
(quoting Thomas v. Farley, 31 F.3d 557, 558-59 (7th Cir. 1994)))
        45
        These comments apply also to the allegations concerning Fitzpatrick, Greenleaf, Morris,
and Ring.
        46
           Cf. McIntyre v. United States, 367 F.3d 38, 53-54 (1st Cir. 2004) (recognizing that the
plaintiffs’ claims against the United States “are based on two interrelated theories of how the FBI
caused McIntyre’s death: (1) by leaking his confidential informant status to Bulger and Flemmi, in
violation of a special duty of non-disclosure owed to him by the government, and (2) by
protecting Bulger and Flemmi from investigation and prosecution, thus enabling and emboldening
them to murder him”).

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omissions with respect to Connolly’s disclosure of confidential law enforcement information.

Instead, each agent would be deemed to have violated McIntyre’s substantive due process rights

to the extent that the conduct of the agent enabled and emboldened Bulger and Flemmi to murder

McIntyre.

       Even if I were to apply this theory here, I would still find that the plaintiffs have not

alleged that Kennedy violated the substantive due process rights of McIntyre. Regardless of the

theory of government action advanced by the plaintiffs, the objectionable conduct must meet the

conscience-shocking test. The plaintiffs do not allege facts that support an inference that

Kennedy acted with an intent to injure McIntyre. I noted earlier that the allegations also do not

support an inference that Kennedy acted with deliberate indifference with respect to Connolly’s

violation of McIntyre’s rights. Likewise, the allegations are insufficient to support an inference

that Kennedy acted with deliberate indifference by extending his own protection to Bulger and

Flemmi, thereby violating the substantive due process rights of McIntyre. The plaintiffs merely

allege that, in 1983, Kennedy allegedly violated the Guidelines when he did not inform the DEA

that he had obtained information regarding Bulger’s criminal activities in a matter of concern to

the DEA. See Comp. ¶ 251. Any causal connection between this single act and the murder of

McIntyre is simply too attenuated reasonably to support an inference of deliberate indifference by

reason of Kennedy’s protection of Bulger and Flemmi. Finally, Kennedy’s ability to assist

McIntyre directly was limited. Kennedy did not need to warn McIntyre that he assumed a danger

in agreeing to incriminate Bulger and Flemmi. As noted above, McIntyre knew there was a risk in

informing on Bulger and Flemmi. Kennedy was not at liberty to reveal the informant status of

Bulger and Flemmi to McIntyre, and there is nothing in the complaint to support an inference that


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Kennedy knew or should have known that Connolly would reveal or had revealed McIntyre’s

informant status to Bulger and Flemmi.

       In sum, neither of the plaintiffs’ theories of government action are sufficient to pierce

Kennedy’s shield of qualified immunity. The alleged misconduct of Kennedy was not conduct

intended to injure McIntyre; nor do the allegations suggest deliberate indifference. With “liability

for negligently inflicted harm” being “categorically beneath the threshold of constitutional due

process,” County of Sacramento, 523 U.S. at 848, (and I express no opinion here as to whether

the plaintiffs have alleged negligence by Kennedy), the conduct of Kennedy does not “shock the

judicial conscience,” Cruz-Erazo v. Rivera-Montanez, 212 F.3d 617, 623 (1st Cir. 2000).

       Fitzpatrick, Greenleaf, and Ring. At the time that McIntyre was murdered, Greenleaf

was the SAC of the FBI Boston Office and Fitzpatrick was the ASAC. Ring was the chief of the

Organized Crime Squad. Thus, all three agents had formal supervisory responsibility for

Connolly. The plaintiffs have adequately alleged that Fitzpatrick, Greenleaf, and Ring knew or

should have known that Bulger and Flemmi committed acts of violence after becoming FBI

informants, and that Bulger and Flemmi had a history of murdering persons - - including persons

providing information to law enforcement agencies concerning the criminal activities of the

Winter Hill Gang. The plaintiffs also have adequately alleged that Fitzpatrick, Greenleaf, and

Ring knew or should have known that Connolly did not observe the Guidelines, that the

relationship between Connolly, Bulger, and Flemmi was corrupt, and that Connolly was sharing

confidential law enforcement information with Bulger and Flemmi. In light of these allegations

and reasonable inferences from them, I conclude that Fitzpatrick, Greenleaf, and Ring had actual

or constructive knowledge of the risk Connolly posed to the constitutional rights of informants


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who incriminated Bulger or Flemmi, including McIntyre. By virtue of the formal supervisory

authority of Fitzpatrick, Greenleaf, and Ring over Connolly, their alleged failure adequately to

supervise Connolly - - including failing to train Connolly, failing to enforce to the Guidelines, and

permitting Connolly to continue as the handler of Bulger and Flemmi - - adequately identifies a

failure to take easily available measures to alleviate that risk. Thus, the plaintiffs have alleged

deliberate indifference that violated McIntyre’s substantive due process rights on the part of

Fitzpatrick, Greenleaf, and Ring.

        Morris. The plaintiffs have adequately alleged that Morris was deliberately indifferent to

the rights of McIntyre. During the time that Morris was the direct supervisor of Connolly, he

participated in, or had actual or constructive knowledge of, Connolly’s disclosure to Bulger and

Flemmi of the informant status of certain persons who were subsequently murdered by Bulger or

Flemmi, including McIntyre. Although Morris ceased to be Connolly’s formal supervisor in

December 1982, Morris maintained his corrupt relationship with Connolly, Bulger, and Flemmi.

The same year that McIntyre was murdered, for example, Morris provided Connolly with

confidential law enforcement information to pass on to Bulger and Flemmi. See Comp. ¶¶ 239,

241. From (1) Morris’s role in and/or knowledge of the manner in which Connolly, Bulger and

Flemmi had responded in the past to threats of exposure posed by the cooperation with law

enforcement agencies of associates of Bulger and Flemmi; and (2) Morris’s continued

involvement with Bulger and Flemmi, including the sharing of confidential law enforcement

information with them, one may reasonably infer that Morris knew of and had the power to

prevent the unconstitutional conduct of Connolly. I conclude, then, that the plaintiffs have




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adequately alleged that Morris acted with deliberate indifference to the substantive due process

rights of McIntyre.

       A conclusion that the plaintiffs have alleged deliberate indifference to the rights of

McIntyre on the part of Fitzpatrick, Greenleaf, Morris, and Ring does not, however, completely

preclude a qualified immunity defense. As with the conduct of Connolly, the alleged misconduct

of Fitzpatrick, Greenleaf, Morris, and Ring cannot have violated the substantive due process

rights of McIntyre unless it shocks the conscience. In determining whether the alleged

misconduct of Connolly was conscience-shocking, I considered whether his conduct was

“intended to injure in some way unjustifiable by any government interest,” which is “the sort of

official action most likely to rise to the conscience-shocking level.” County of Sacramento, 523

U.S. at 849. While it is clearly reasonable to infer from the plaintiffs’ allegations that Connolly

acted with an intent to injure McIntyre, that same inference is not as obvious with respect to the

allegations against Morris, and even less obvious with respect to Fitzpatrick, Greenleaf, and Ring.



       Nonetheless, something less than conduct intended to injure can satisfy the conscience-

shocking test. Executive conduct taken in “deliberate indifference” may shock the conscience

when it was “practical” for the government official to have actually deliberated prior to taking the

offending course of action. Id. at 851; see also id. at 853 (“When ... opportunities to do better

are teamed with protracted failure even to care, indifference is truly shocking.”); cf. id. at 854

(holding the “deliberate indifference” standard inapplicable to a high-speed police pursuit). The

alleged misconduct of Fitzpatrick, Greenleaf, Morris, and Ring consists generally of a failure to

supervise Connolly; this conduct is of the sort where “actual deliberation is practical.” See id. at


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850 n.10 (noting that the Court “ha[d] employed deliberate indifference as a standard of

culpability sufficient to identify a dereliction as reflective of municipal policy and to sustain a

claim of municipal liability for failure to train an employee who causes harm by unconstitutional

conduct for which he would be individually liable”); Shrum ex rel. v. Kluck, 249 F.3d 773, 779

(8th Cir. 2001) (“[I]n some circumstances, official policy that is deliberately indifferent to

unconstitutional conduct may satisfy the ‘shocks the conscience’ standard required by [County of

Sacramento v.] Lewis.”). Thus, I may gauge whether the conduct of Fitzpatrick, Greenleaf,

Morris, and Ring was conscience-shocking by applying a test of deliberate indifference. Because

this is the very standard I employed above to determine whether the conduct of these agents

violated a fundamental right of McIntyre, I need not consider the question anew for the purpose

of determining whether their conduct was conscience-shocking. Thus the conclusion: the alleged

misconduct of Fitzpatrick, Greenleaf, Morris, and Ring was deliberately indifferent and therefore

conscience-shocking.47

        One more step remains before I may conclude that Fitzpatrick, Greenleaf, Morris, and

Ring are not entitled to qualified immunity on their motions for judgment on the pleadings.

Because I am analyzing the conduct of these agents under a theory of supervisory liability, I must

consider whether the theory of supervisory liability on which the plaintiffs rely was clearly

established at the time of the relevant conduct. Camilo-Robles, 151 F.3d at 6. This is not a

difficult analysis. It was clearly established in 1984 that an official can violate the rights of a

private citizen by failing to supervise his subordinates adequately. See, e.g., Rizzo v. Goode, 423


        47
        The allegations supporting a conclusion that the conduct of Connolly was conscience-
shocking because it was conduct “intended to injure” also support a finding that his conduct was
conscience-shocking under the less exacting “deliberate indifference” standard.

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U.S. 362, 373-74 (1976) (discussing Hague v. CIO, 307 US 496 (1939), and pointing out that in

Hague “the pattern of police misconduct upon which liability and injunctive relief were grounded

was the adoption and enforcement of deliberate policies by ... defendants ... including the Mayor

and the Chief of Police”); Davis v. Zahradnick, 600 F.2d 458, 459 n.1 (4th Cir. 1979) (“By

alleging and swearing that [the prison warden] had neglected his duty to supervise and control the

prison guards, [the plaintiff] proceeded upon a proper theory of § 1983 liability, and not upon the

discredited [r]espondeat superior doctrine.”); Demarzo v. Cahill, 575 F.2d 15, 17-18 & n.2 (1st

Cir. 1978); Byrd v. Brishke, 466 F.2d 6, 11 (7th Cir. 1972) (“[A] police officer may not ignore

the duty imposed by his office and fail to stop other officers who summarily punish a third person

in his presence or otherwise within his knowledge. That responsibility obviously obtains when the

nonfeasor is a supervisory officer to whose direction misfeasor officers are committed.” (emphasis

added)); Delaney v. Dias, 415 F. Supp. 1351, 1354 (D. Mass. 1976).

        The allegations against Fitzpatrick, Greenleaf, Morris, and Ring reasonably permit the

inference that, through their conduct vis-à-vis Connolly’s violation of McIntyre’s clearly

established substantive due process right not to be murdered by or with the aid of government

agents, Fitzpatrick, Greenleaf, Morris, and Ring themselves were deliberately indifferent to the

substantive due process rights of McIntyre, and that this deliberate indifference was conscience-

shocking. Moreover, it was clearly established at the time of the murder that the agents could be

held liable to the plaintiffs based on the agents’ dereliction of their supervisory responsibilities.

Thus, Fitzpatrick, Greenleaf, Morris, and Ring are not entitled to the defense of qualified

immunity with respect to allegations that they violated the substantive due process rights of

McIntyre.


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E.      Access to the Courts

        The agents have moved to dismiss the plaintiffs’ Bivens claims that the agents conspired to

deprive them of their right under the First and Fifth amendments to access to the courts. Compl.

Count XII. The agents argue that these claims fail to meet the pleading requirements for a claim

of denial of access to the courts, as set forth in the Supreme Court’s decision in Christopher v.

Harbury, 536 U.S. 403 (2002). Specifically, the agents argue that the denial of access conspiracy

claims are insufficiently pleaded because the complaint fails to allege (1) a valid underlying claim

upon which the Estate was denied access to the courts; (2) that the object of the agents’

conspiracy was to deprive the Estate of its right of access to the courts; and (3) a remedy unique

to the denial of access claim and unavailable on any other claim.

        In Harbury, the Supreme Court set forth the elements of a backward-looking denial of

access claim of the kind involved here. 536 U.S. at 415-16. First, the allegations of the complaint

must be sufficient to identify a “nonfrivolous,” and “arguable” underlying claim that the plaintiffs

would have brought had it not been for the alleged denial of access. Id. at 415. The complaint

must also describe the official acts that denied access. Id. Next, the complaint must identify a

remedy that may be awarded that is unique to the denial of access claim. Id. That is to say, the

remedy must be unavailable in any suit that may yet be brought. Id. Both the underlying claim

and the unique remedy must be set out in the complaint in a manner sufficient to give fair notice

to the defendant. Id. at 416. In addition to meeting the Harbury requirements, plaintiffs asserting

a conspiracy to deny access to the courts must also allege that the object of the conspiracy was

either (1) unlawfully to deprive the plaintiffs of their right of access to the courts; or (2) to




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achieve some lawful aim by depriving the plaintiffs of access to the courts. See Earle, 850 F.2d at

844.

       In count XII of the complaint, the plaintiffs allege that Ahearn, Connolly, Fitzpatrick,

Greenleaf, Kennedy, Morris and Ring “conspired and confederated together to deny the

[plaintiffs’] Estate its clearly established right to seek redress of grievances.” Compl. ¶ 467. The

plaintiffs claim that the conspiracy “result[ed] in lost damages.” Id. The plaintiffs do not make

any other allegations concerning the damages resulting from the alleged conspiracy. As I

explained in Estate of Halloran v. United States, 268 F. Supp. 2d 91, 97 (D. Mass. 2003), this

vague claim for damages does not meet the Harbury requirement of pleading damages unique to

the access to the courts claim in a manner “sufficient to give fair notice to” the agents. 546 U.S.

at 416. This alone vitiates the plaintiffs’ claim based on denial of access to the courts. Therefore,

I need not address whether the plaintiffs have otherwise stated a claim for denial of access to the

courts or whether the right was clearly established at relevant times. Accordingly, the motions of

Ahearn, Connolly, Fitzpatrick, Greenleaf, Kennedy, Morris, and Ring for judgment on the

pleadings are hereby GRANTED as to count XII of the complaint.

                                      IV.    CONCLUSION

       For the reasons discussed above, I hereby order that the motions listed below be disposed

of as follows:

       Ahearn’s motion for judgment with prejudice on the pleadings (docket entry 293) is
       GRANTED;

       Connolly’s motion to dismiss or for judgment on the pleadings on all counts of the
       complaints asserted against him (docket entry 306) is DENIED as to count X and
       GRANTED as to counts IX, XI, and XII;



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       Fitzpatrick’s motion to dismiss for lack of jurisdiction by reason of failure to state a
       constitutional claim which defeats defendant’s defense of qualified immunity (docket entry
       299) is DENIED as to count X and GRANTED as to counts IX, XI, and XII;

       Greenleaf’s motion for judgment with prejudice on the pleadings (docket entry 296) is
       DENIED as to counts X and XA and GRANTED as to counts IX, XI, and XII;

       Kennedy’s motion for judgment on the pleadings (docket entry 303) is GRANTED; and,

       Ring’s motion for judgment on the pleadings on the basis of qualified immunity (docket
       entry 297) is DENIED as to counts X and XA and GRANTED as to counts IX, XI, and
       XII.

       I also rule that Morris is entitled to judgment on the pleadings as to counts IX, XI, and

XII.

                                         SO ORDERED.

                                             /s/ REGINALD C. LINDSAY
                                             United States District Judge

DATED:        September 30, 2004




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